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Michael A. Sirignano, Esq.
Barry I. Levy, Esq.
Joshua D. Smith, Esq.
RIVKIN RADLER LLP
926 RXR Plaza
Uniondale, New York 11556
(516) 357-3000

Counsel for Plaintiffs Government Employees
Insurance Company, GEICO Indemnity Company,
GEICO General Insurance Company and
GEICO Casualty Company

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
GOVERNMENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY,
GEICO GENERAL INSURANCE COMPANY and
GEICO CASUALTY COMPANY,                                                    Docket No.: _____(    )

                                        Plaintiffs,                        Plaintiffs Demand a Trial
                                                                           by Jury
                    -against-


M S B RX CORP. d/b/a FOREST DRUGS, TAIRA
RX CORP. d/b/a FOREST DRUGS, KZ PHARMACY
INC., MICHAEL SLAVA BASSANELL, MIKHAIL
BORUKHOV, IRINA HAKIMI, MANI
USHYAROV, D.O., JORDAN SUDBERG, M.D.,
AND JOHN DOE NOS. “1” THROUGH “5,”

                                         Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

                                                       COMPLAINT

          Plaintiffs Government Employees Insurance Company, GEICO Indemnity Company,

GEICO General Insurance Company and GEICO Casualty Company (collectively, “GEICO” or

“Plaintiffs”), as and for their Complaint against Defendants, M S B Rx Corp. d/b/a Forest Drugs,

Taira Rx Corp. d/b/a Forest Drugs, KZ Pharmacy Inc., Michael Slava Bassanell, Mikhail
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Borukhov, Irina Hakimi, Mani Ushyarov, D.O., Jordan Sudberg, M.D., and John Doe Nos. “1”

through “”5” (collectively, “Defendants”), hereby allege as follows:

       1.      This action seeks to terminate a massive, on-going fraudulent scheme perpetrated

against GEICO by Defendants who have exploited the New York “No-Fault” insurance system

by submitting more than $4.35 million in bogus and fraudulent pharmaceutical billing to GEICO.

The fraudulent scheme is spearheaded by a pharmacist, Michael Slava Bassanell (“Bassanell”),

who has used a series of three pharmacies, M S B Rx Corp. d/b/a Forest Drugs (MSB Rx), Taira

Rx Corp. d/b/a Forest Drugs (“Taira Rx”), and KZ Pharmacy Inc. (“KZ Pharmacy”) (collectively

the “Pharmacies”) to submit thousands of fraudulent No-Fault insurance charges for medically

unnecessary, illusory, “pain relieving” prescription drug products, including compounded pain

creams, gels, ointments, and patches (collectively the “Fraudulent Pain Products”) allegedly

provided to New York automobile accident victims covered by policies of insurance issued by

GEICO (“Insureds”).

       2.      Bassanell, working with Mikhail Borukhov (“Borukhov”), Irina Hakimi

(“Hakimi”), and John Does Nos. 1 – 5, presented MSB Rx, Taira Rx, and KZ Pharmacy as

separately-owned, neighborhood pharmacies, when, in fact, the Pharmacies operated from the

same location, 112-53 Queens Boulevard, Forest Hills, New York, and have been used as part of

an integrated scheme to dispense millions of dollars of Fraudulent Pain Products pursuant to

predetermined fraudulent treatment protocols and collusive agreements with various prescribing

doctors, including defendants Mani Ushyarov, D.O. (“Ushyarov”) and Jordan Sudberg, M.D.

(“Sudberg”) (collectively, the “Prescribing Defendants”).

       3.      MSB Rx, Taira Rx, KZ Pharmacy, Bassanell, Borukhov, and Hakimi

(collectively, the “Pharmacy Defendants”) intentionally submitted inflated and fraudulent billing




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to GEICO and other New York automobile insurers by entering into illegal, collusive

arrangements with the Prescribing Defendants who generated formulaic, coded, and medically

unnecessary prescriptions using labels or rubber stamps supplied by the Pharmacy Defendants in

violation of law, without regard to genuine patient care.

       4.      As part of the scheme, the Pharmacy Defendants steered the Prescribing

Defendants to prescribe: (i) topical pain products in place of safer and far less costly over-the-

counter (“OTC”) medications or commercially available FDA-approved medications in order to

generate huge profits for the Defendants and (ii) topical compounded pain creams and gels that

the Pharmacy Defendants produced in bulk by assembling combinations of multiple drug

ingredients with unproven effects in order to create exorbitantly-priced products (the “Fraudulent

Compounded Drugs”) that they could dispense and bill for. The Defendants did this knowing,

among other things, that there was no medical necessity for the exorbitantly priced Fraudulent

Pain Products, including the Fraudulent Compounded Drugs that were supposed to be specially

tailored and individualized, in order to maximize the billing that could be submitted to GEICO

and other New York automobile insurers.

       5.      The scheme by the Pharmacy Defendants and the Prescribing Defendants to

routinely dispense to patients prescriptions for the Fraudulent Pain Products, without regard to

actual medical need, not only inflated the charges but also posed serious risks to the patients’

health and well-being. For example, risks from diclofenac sodium include both gastrointestinal

effects, as well as major cardiovascular events, such as heart attack and stroke.

       6.      GEICO seeks to recover at least $1,542,000.00 that was stolen from it by virtue of

Defendants’ fraudulent scheme, which damages are to be trebled under 18 U.S.C. § 1962(c)), et.

al to $4,626,000.00. In addition to recovering the monies stolen from it, trebled damages, and




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the attorney fees incurred by GEICO in this action, GEICO is entitled to a declaration that it is

not legally obligated to pay the Pharmacies (i.e., MSB Rx, Taira Rx, and KZ Pharmacy) for more

than $2,000,000.00 in pending fraudulent claims the Defendants submitted or caused to be

submitted through the Pharmacies. GEICO is entitled to relief because, among other things:

              (i)     the Defendants prescribed, produced, and dispensed the Fraudulent
                      Pain Products pursuant to predetermined fraudulent treatment
                      protocols solely to financially enrich themselves, without regard
                      for the safety or topical efficacy of the Fraudulent Pain Products or
                      the availability of a wide range of OTC medications proven to
                      have therapeutic effects and available at a fraction of the cost;

              (ii)    the Defendants participated in illegal, collusive agreements in
                      which MSB Rx, Taira Rx, and KZ Pharmacy solicited and received
                      medically unnecessary prescriptions from licensed physicians
                      and/or their associates for the Fraudulent Pain Products produced
                      and/or dispensed by MSB Rx, Taira Rx, and KZ Pharmacy in
                      violation of New York law prohibiting such collusive
                      arrangements for the compounding and dispensing of specially
                      marked prescriptions;

              (iii)   MSB Rx, Taira Rx, and KZ Pharmacy engaged in illegal bulk
                      compounding by specializing in producing and dispensing large
                      quantities of the Fraudulent Compounded Drugs in set
                      formulations, in violation of Federal and New York State
                      regulatory and licensing requirements imposed on pharmacies,
                      drug manufacturers and outsourcing facilities, rendering them
                      ineligible to receive reimbursement for No-Fault insurance
                      benefits;

              (iv)    in the case of KZ Pharmacy, the Defendants submitted hundreds of
                      thousands of dollars in billing to GEICO prior to the pharmacy
                      obtaining a New York State pharmacy license, rendering KZ
                      Pharmacy ineligible to receive reimbursement for No-Fault
                      insurance benefits; and

              (v)     in the case of Taira Rx and KZ Pharmacy, the Defendants
                      submitted hundreds of thousands of dollars in billing to GEICO for
                      goods and services provided by independent contractors, rendering
                      the pharmacies ineligible to receive reimbursement for No-Fault
                      insurance benefits.




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       7.      The Defendants fall into the following categories:

               (i)     The Pharmacies, MSB Rx, Taira Rx, and KZ Pharmacy, are New
                       York corporations engaged in a fraudulent scheme in which they
                       specialize in producing and dispensing the Fraudulent Pain
                       Products to patients and then submitting bills to GEICO and other
                       New York automobile insurers for reimbursement to which they
                       are not entitled;

               (ii)    Bassanell, Borukhov, and Hakimi (collectively the “Owner
                       Defendants”) are the purported owners of MSB Rx, Taira Rx, and
                       KZ Pharmacy, respectively;

               (iii)   Ushyarov and Sudberg (collectively, the “Prescribing Defendants”)
                       are physicians who, in violation of New York law prohibiting
                       collusive arrangements for the compounding and dispensing of
                       specially marked prescriptions, entered into collusive arrangements
                       with the Pharmacies whereby they prescribed, or purported to
                       prescribe, the medically unnecessary Fraudulent Pain Products;
                       and

               (iv)    John Doe Defendants “1” through “5” are persons and entities,
                       presently not identifiable, who, along with the Owner Defendants,
                       participated in the operation and control of the Pharmacies, as well
                       as facilitating the illegal, collusive relationships with the
                       Prescribing Defendants.

       8.      The Pharmacies, Owner Defendants, and John Doe Defendants “1” through “5”

(collectively, the “Pharmacy Defendants”), began their scheme in 2015, which scheme continues

uninterrupted to the present day. As discussed more fully below, the Defendants at all times

have known that: (i) the Defendants prescribed, dispensed and, in many cases, produced the

Fraudulent Pain Products pursuant to predetermined fraudulent treatment protocols designed

solely to financially enrich themselves, based on prescriptions solicited by the Pharmacies

without regard for the safety or topical efficacy of the Fraudulent Pain Products or the

availability of a wide range of FDA-approved medications, as well as OTC medications, proven

to have therapeutic effects and available at a fraction of the cost; (ii) the Defendants participated




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in illegal, collusive agreements in which the Pharmacies solicited and received formulaic,

medically unnecessary prescriptions from licensed physicians and/or their associates for the

Fraudulent Pain Products dispensed and/or produced by the Pharmacies in violation of New

York law prohibiting arrangements involving the compounding and dispensing of specially

marked prescriptions; and (iii) the Pharmacies engaged in illegal bulk compounding by

specializing in producing and dispensing large quantities of the Fraudulent Compounded Drugs

in set formulations, in violation of Federal and New York State regulatory and licensing

requirements imposed on pharmacies, drug manufacturers and outsourcing facilities, rendering it

ineligible to receive reimbursement for No-Fault benefits.

       9.      As such, the Pharmacies do not now have – and have never had – any right to be

compensated for the Fraudulent Pain Products allegedly dispensed to GEICO insureds. The

charts attached hereto as Exhibits “1” – “3” set forth the fraudulent claims that have been

identified to-date which the Defendants submitted, or caused to be submitted, to GEICO.

                                        THE PARTIES

I.     Plaintiffs

       10.     Plaintiffs Government Employees Insurance Company, GEICO Indemnity

Company, GEICO General Insurance Company and GEICO Casualty Company are Maryland

corporations with their principal places of business in Chevy Chase, Maryland. GEICO is

authorized to conduct business and to issue automobile insurance policies in New York.

II.    Defendants

       11.     Defendant MSB Rx is a New York corporation, incorporated on or about

November 6, 2008, with its principal place of business at 112-53 Queens Boulevard, Forest Hills,

New York.




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       12.     Defendant Taira Rx is a New York corporation, incorporated on or about May 12,

2015, with its principal place of business at 112-53 Queens Boulevard, Forest Hills, New York.

       13.     Defendant KZ Pharmacy is a New York corporation, incorporated on or about

January 26, 2018, with its principal place of business at 112-53 Queens Boulevard, Forest Hills,

New York.

       14.     MSB Rx, Taira Rx, and KZ Pharmacy knowingly have submitted fraudulent

claims to GEICO for the Fraudulent Pain Products, and continue to seek reimbursement on

unpaid fraudulent claims.

       15.     MSB Rx, Taira Rx, and KZ Pharmacy engage in pharmaceutical compounding

activities and specialize in producing and dispensing compounded pain creams and gels.

       16.     MSB Rx, Taira Rx, and KZ Pharmacy have, at various points in time, been

registered with New York State as pharmacies, but have never been registered as manufacturers

or outsourcing facilities permitted to engage in bulk compounding.

       17.     MSB Rx, Taira Rx, and KZ Pharmacy are not permitted to engage in bulk

compounding or specialize in dispensing large quantities of compounded pain creams and gels

that are not specially tailored to the needs of individual patients.

       18.     Defendant Bassanell resides in and is a citizen of New York. Bassanell was

licensed to practice pharmacy in New York on September 11, 2004. Bassanell is listed as the

owner of record for MSB Rx, and has been listed with the New York State Office of the

Professions as the supervising pharmacist for both MSB Rx and Taira Rx.

       19.     Defendant Borukhov resides in and is a citizen of New York. Borukhov is listed

as the owner of record for Taira Rx.




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       20.     Defendant Hakimi resides in and is a citizen of New York. Hakimi, upon

information and belief, is the owner of KZ Pharmacy. This belief is based upon the fact that

Hakimi signed the Certification of Incorporation as Incorporator for KZ Pharmacy, filed the

Certificate of Incorporation with New York State, and is listed as the registered agent for KZ

Pharmacy.

       21.     Ushyarov resides in and is a citizen of New York. Ushyarov was licensed to

practice medicine in New York on January 19, 1996. Ushyarov knowingly has participated in a

scheme to prescribe the Fraudulent Pain Products to GEICO Insureds.

       22.     Sudberg resides in and is a citizen of New York. Sudberg was licensed to practice

medicine in New York on October 23, 2013. Sudberg knowingly has participated in a scheme to

prescribe the Fraudulent Pain Products to GEICO Insureds.

                                JURISDICTION AND VENUE

       23.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§1332(a)(1) because the matter in controversy exceeds the sum or value of $75,000.00, exclusive

of interest and costs, and is between citizens of different states. Pursuant to 28 U.S.C. § 1331,

this Court also has jurisdiction over the claims brought under 18 U.S.C. §§ 1961 et seq., the

Racketeer Influenced and Corrupt Organizations (“RICO”) Act, because they arise under the

laws of the United States. In addition, this Court has supplemental jurisdiction over the subject

matter of the claims asserted in this action pursuant to 28 U.S.C. § 1367.

       24.     Venue in this District is appropriate pursuant to 28 U.S.C. § 1391, as the Eastern

District of New York is the District where one or more of the Defendants reside and because this

is the District where a substantial amount of the activities forming the basis of the Complaint

occurred.




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                       ALLEGATIONS COMMON TO ALL CLAIMS

I.     An Overview of New York’s No-Fault Laws

       25.     GEICO underwrites automobile insurance in the State of New York.

       26.     New York’s “No-Fault” laws are designed to ensure that injured victims of motor

vehicle accidents have an efficient mechanism to pay for and receive the healthcare services that

they need. Under New York’s Comprehensive Motor Vehicle Insurance Reparations Act (N.Y.

Ins. Law §§ 5101 et seq.) and the regulations promulgated pursuant thereto (11 N.Y.C.R.R. §§

65 et seq.)(collectively, referred to herein as the “No-Fault Laws”), automobile insurers are

required to provide Personal Injury Protection Benefits (“No-Fault Benefits”) to Insureds.

       27.     No-Fault Benefits include up to $50,000.00 per Insured for necessary expenses

that are incurred for health care goods and services.

       28.     An Insured can assign his or her right to No-Fault Benefits to the providers of

healthcare services in exchange for those services. Pursuant to a duly executed assignment, a

healthcare provider may submit claims directly to an insurance company and receive payment

for necessary goods and medical services provided, using the claim form required by the New

York State Department of Insurance (known as the “Verification of Treatment by Attending

Physician or Other Provider of Health Service,” or, more commonly, as an “NF-3”). In the

alternative, healthcare providers sometimes submit claims using the Health Care Financing

Administration insurance claim form (known as the “HCFA-1500 Form”).

       29.     Pursuant to New York’s No-Fault Laws (11 N.Y.C.R.R. § 65-3.16(a)(12)), a

healthcare provider is not eligible to receive No-Fault Benefits if it fails to meet any applicable

New York state or local licensing requirement necessary to perform such services in New York.




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       30.       In State Farm Mut. Auto. Ins. Co. v. Mallela, 4 N.Y.3d 313 (2005), the New York

Court of Appeals, relying on the implementing regulation, 11 N.Y.C.R.R. § 65-3.16(a)(12),

made clear that healthcare providers that fail to comply with licensing requirements are ineligible

to collect No-Fault benefits. The Court of Appeals further provided that insurers may look

beyond a facially-valid license to determine whether there was a failure to abide by state and

local law.

       31.       Pursuant to New York Insurance Law § 403, the NF-3s and HCFA-1500 Forms

submitted by a healthcare provider to GEICO, and to all other automobile insurers, must be

verified by the health care provider subject to the following warning:

                 Any person who knowingly and with intent to defraud any insurance
                 company or other person files an application for insurance or statement of
                 claim containing any materially false information, or conceals for the
                 purpose of misleading, information concerning any fact material thereto,
                 commits a fraudulent insurance act, which is a crime.

II.    An Overview of Applicable Licensing Laws

       32.       The United States Federal Food, Drug, and Cosmetic Act (“FDCA”) authorizes

the United States Food and Drug Administration (“FDA”) to oversee the safety of food, drugs,

and cosmetics.

       33.       Pursuant to New York Education Law § 6808, no person, firm, corporation or

association shall possess drugs, prescriptions or poisons for the purpose of compounding,

dispensing, retailing, wholesaling or manufacturing, or shall offer drugs, prescriptions or poisons

for sale at retail or wholesale unless registered by the New York State Department of Education

as a pharmacy, wholesaler, manufacturer or outsourcing facility.

       34.       Manufacturers and outsourcing facilities that seek to register with the New York

State Department of Education, as required by New York Education Law § 6808, must also




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register with the FDA and be listed as a manufacturer or outsourcing facility on the FDA

website.

       35.       New York Education Law § 6530(38) prohibits a licensed physician from

entering into an arrangement or agreement with a pharmacy for the compounding and/or

dispensing of coded or specially marked prescriptions, while New York Education Law § 6811

makes it a crime for any person to enter into an agreement with a physician (or other licensed

healthcare provider) for the compounding or dispensing of secret formula (“coded”)

prescriptions.

       36.       New York Education Law § 6530(18) prohibits a licensed physician from

“directly or indirectly” offering, giving, soliciting, receiving or agreeing to receive any fee or

other consideration to or from a third party in exchange for patient referrals or in connection with

the performance of professional services.

       37.       New York Education Law § 6509-a, prohibits a professional licensee from

“directly or indirectly” requesting, receiving, or participating in the division, transference,

assignment, rebate, splitting, or refunding of a fee in connection with professional care or

services including services related to drugs and/or medications.

       38.       8 N.Y.C.R.R. § 29.1(b)(3) prohibits a professional licensee from “directly or

indirectly” offering, giving, soliciting, or receiving or agreeing to receive, any fee or other

consideration to or from a third party for the referral of a patient or client or in connection with

the performance of professional services.




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III.   An Overview of Compounded Drug Products

       39.     The FDA strictly regulates drugs, and oversees drug manufacturing in several

ways, including testing drugs and routinely inspecting drug manufacturing plants and

outsourcing facilities engaged in the compounding of drugs.

       40.     FDA-approved drugs require: (i) approval prior to marketing; (ii) compliance with

federal labelling laws; and (iii) that the drugs be made and tested in accordance with good

manufacturing practice regulations (GMPs), which are federal statutes that govern the production

and testing of pharmaceutical products.

       41.     Pursuant to Section 503A of the Federal Food, Drug and Cosmetic Act

(“FDCA”), as amended by the Compounding Quality Act, the laws applicable to drugs regulated

by the FDA, including the laws relating to the safe manufacturing of drugs, generally do not

apply to a “compounded” drug product: (1) if the drug product is compounded for an identified

individual patient based on the receipt of a valid prescription order that a compounded product is

necessary for the identified patient, and (2) if the compounding is performed by a licensed

pharmacist in a state licensed pharmacy.

       42.     The FDA defines traditional pharmacy compounding as the combining, mixing, or

altering of ingredients to create a customized medication for an individual patient in response to

a licensed practitioner’s prescription. Traditional pharmacy compounding plays a role in

providing access to medications for patients with unique medical needs, which cannot otherwise

be met with a commercially available product. State licensed pharmacies may compound

specified medications when an FDA-approved drug product is not available or appropriate for a

patient, including strength or route of delivery.




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       43.     Compounded drugs are generally not FDA-approved, though they may include

FDA-approved drugs, and are generally exempt from the FDA approval process which applies to

new drugs if the drug is compounded for an identified individual patient based on the receipt of a

valid prescription, approved by the prescribing practitioner on the prescription order, that a

compounded product is necessary for the identified patient. See 21 U.S.C. § 353a.

       44.     Unlike FDA-approved products, consumers and prescribers cannot assume that

compounded drugs were made by validated processes in properly calibrated and cleaned

equipment; that the ingredients in the drug were obtained from FDA-approved sources; that

production personnel had the requisite knowledge and training; and that appropriate laboratory

testing was performed to verify the compounded drug’s potency, purity, and quality.

       45.     The FDA has publicly expressed concern regarding large-scale drug

manufacturing under the guise of traditional small-scale pharmacy compounding. For example,

the FDA has noted that poor practices on the part of bulk drug compounders can result in

contamination or products that do not possess the strength, quality, and purity required.

Published reports also consistently show that compounded drugs fail to meet specifications at a

considerably higher rate than FDA-approved drugs.

       46.     Traditional pharmacy compounding by state licensed pharmacies, therefore, is

permissible when done on a small scale by pharmacists who prepare the medication based on an

individual prescription. Specifically, when compounded drugs meet the requirements of 21

U.S.C. § 353a and are compounded for an individual patient, they can be exempted from the

requirement, among others, that they be FDA-approved. See 21 U.S.C. § 355(a) (“No person

shall introduce or deliver for introduction into interstate commerce any new drug, unless an

approval of an application filed pursuant to... this section is effective with respect to such drug”).




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       47.     When Congress adopted 21 U.S.C. § 353a, its express intent was to “ensure

continued availability of compounded drug products as a component of individualized therapy,

while limiting the scope of compounding so as to prevent manufacturing [of drugs that would

otherwise require FDA approval] under the guise of compounding.” H.R. Rep. No. 105-399, at

94 (1997) (Conf. Rep.)(emphasis added). As Congress stated at the time:

               the “exemptions in [this section] are limited to compounding for an
               individual patient based on the medical need of such patient for the
               particular drug compound. To qualify for the exemptions, the pharmacist
               or physician must be able to cite to a legitimate medical need for the
               compounded product that would explain why a commercially available
               drug product would not be appropriate. Although recording the medical
               need directly on each prescription order would not be required, this
               technique would be one of many acceptable ways of documenting the
               medical need for each compounded drug product. This medical need
               would not include compounding drugs that are essentially copies of
               commercially available drug products for largely economic reasons. The
               pharmacist may rely on appropriately documented input from the
               physician as to whether a commercially available drug product is not
               appropriate for the identified individual patient.”

S. Rep. No. 105-43, at 67-68 (1997)(emphasis added).

       48.     Because compounded products are not FDA-approved, and therefore, not subject

to FDA regulations regarding quality, safety and effectiveness of manufactured drug products,

they should never be prescribed as a matter of routine therapy, and should only be prescribed to

meet a legitimate specific need of an individual patient, or when all other forms of oral and/or

topical medications approved for the treatment of pain have failed.

       49.     The prescription of compounded drug products and ensuing billing to both private

and public insurers has been the subject of state and federal investigations and litigation due to

increased concerns regarding fraud. For example:

       •       in January 2014, the United States Attorney for the District of New Jersey
               obtained a guilty plea from a pharmacist who was involved with payment of




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               kickbacks to a physician in exchange for prescriptions for compounded pain
               creams and gels. See USA v. Kleyman, 1:14-CR-598-JHR, Docket No. 1.

       •       in February 2016, the United States Attorney for the Northern District of Texas
               indicted two laypersons, who conspired with physicians and pharmacies, in a
               scheme involving producing, prescribing, and distributing compound creams,
               including payment of kickbacks to prescribing physicians and insured
               beneficiaries. See USA v. Cesario, 3:16-CR-060-M, Docket Nos. 3, 75.

       •       in June 2016, the United States Attorney for the Middle District of Florida
               indicted a physician who engaged in a fraudulent scheme involving payment of
               kickbacks for the referral of patients and prescriptions for compounded creams.
               See USA v. Baldizzi, 8:16CR271-MSS-AEP, Docket No. 1.

       •       in August 2016, the United States Attorney for the Southern District of New York
               indicted members of the Genovese, Gambino, Luchese, and Bonanno crime
               families, whose alleged illegal activities included “causing…corrupt doctors to
               issue unnecessary and excessive prescriptions for expensive compound cream”
               billed to insurers. See USA v. Parrello, 16 Crim. 522 (2016).

       50.     Further, the U.S. Department of Health & Human Services (“USDHHS”) and the

U.S. Postal Service have both issued reports documenting fraud concerns with compounded

drugs. See High Part D Spending on Opioids and Substantial Growth in Compound Drugs Raise

Concerns, HHS OIG Data Brief, OEI-16-00290 (June 2016); Worker’s Compensation

Compound Drug Costs, Management Advisory, Report No. HR-MA-16-003 (March 14, 2016).

Most recently, USDHHS issued a report entitled Questionable Billing For Compounded Topical

Drugs in Medicare Part D, OEI-02-16-00440 (August 2018), which noted that many

pharmacies in New York State are among the most questionable in the nation.

IV.    The Defendants’ Scheme Involving The Fraudulent Pain Products

       51.     The Pharmacy Defendants masterminded and implemented a fraudulent scheme

in which they used the Pharmacies to bill the New York automobile insurance industry for

millions of dollars in inflated charges – which they were not eligible to receive – relating to the




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Fraudulent Pain Products, including the Fraudulent Compounded Drugs, purportedly provided to

Insureds.

       52.    The Pharmacy Defendants, spearheaded by Bassanell, utilized three pharmacy

corporations in successive fashion at the same location, 112-53 Queens Boulevard, Forest Hills,

New York, in order to limit the volume of fraudulent billing submitted through any one entity,

conceal the true volume of fraudulent billing submitted to GEICO, and obfuscate legitimate

investigation into their unlawful arrangements with the Prescribing Defendants.

       A.     The Defendants’ Various Corporate Identities and Purported Changes in
              Ownership

       53.    In furtherance of Defendants’ massive fraudulent scheme, the Defendants created

three pharmacy entities, owned on paper by three different individuals, but in actuality owned

and controlled at all times by the same group of individuals, including Bassanell and John Doe

Nos. “1” through “5”.

       54.    Initially, Bassanell incorporated MSB Rx in 2008 in order operate a pharmacy at

112-53 Queens Boulevard, Forest Hills, New York.           Bassanell acted as the supervising

pharmacist for MSB Rx in addition to being MSB Rx’s sole owner.

       55.    In or about September 2015, Bassanell entered into a sham agreement with

Borukhov whereby Bassanell purported to sell MSB Rx’s assets and transfer MSB Rx’s New

York State pharmacy license to Borukhov, whereby Borukhov would purport to own and operate

a company under his own name, known as Taira Rx.

       56.    In actuality, Bassanell continued to own and control Taira Rx and the pharmacy

practice located at 112-53 Queens Boulevard, Forest Hills, New York.




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       57.    In keeping with the fact that the sale and transfer to Borukhov was a sham,

following the sale and transfer Bassanell continued to own another licensed pharmacy, Satya

Drug Corp. d/b/a Farmacia Central, located just four doors down from Taira Rx at 113-07

Queens Boulevard, Forest Hills, New York.

       58.    There was no legitimate business reason for Borukhov to purchase MSB Rx’s

assets and pharmacy license from Bassanell while Bassanell continued to own and operate a

second pharmacy four doors down the street.

       59.    Rather, Bassanell and Borukhov entered into the sham agreement to conceal the

true volume of fraudulent billing the Defendants were submitting to GEICO from the pharmacy

practice located at 112-53 Queens Boulevard, Forest Hills and to obfuscate any legitimate

investigation by GEICO and any other insurance company into MSB Rx’s fraudulent billing

practices and illegal collusive arrangements with prescribing physicians, including the

Prescribing Defendants.

       60.    In fact, following the purported sale and transfer, MSB Rx continued operating

virtually all aspects of the pharmacy at 112-53 Queens Boulevard, Forest Hills even though it

was now known by the name Taira Rx, including supplying and paying all employees, and

ordering and paying for all of the inventory of drug products purchased from drug wholesalers.

       61.    In particular, the purported employees of Taira Rx continued to be paid from

MSB Rx’s corporate bank account and continued to receive W-2s from MSB Rx, while Taira

Rx’s other business expenses, including invoices from prescription drug wholesalers, continued

to be paid by MSB Rx.

       62.    Furthermore, despite purportedly selling MSB Rx’s assets and pharmacy license

to Borukhov, Bassanell remained at the pharmacy located at 112-53 Queens Boulevard, Forest




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Hills to supposedly continue in his role as supervising pharmacist. In actuality, Bassanell

continued to own and control Taira Rx.

       63.     In early 2018, in a further effort to conceal their fraudulent scheme, the

Defendants arranged for Borukhov to sell Taira Rx’s assets and pharmacy license to Irina

Hakimi, so that Hakimi could purport to own and operate KZ Pharmacy at the same location,

112-53 Queens Boulevard, Forest Hills.

       64.     In actuality, Bassanell continued to own and control KZ Pharmacy and the

pharmacy practice located at 112-53 Queens Boulevard, Forest Hills.

       65.     In fact, Bassanell is registered with the New York State Office of Professions as

the supervising pharmacist for KZ Pharmacy.

       66.     In keeping with the fact that the sale of Taira Rx’s assets to Hakimi was a sham to

further conceal the fact that ownership and management of the pharmacy practice located at 112-

53 Queens Boulevard, Forest Hills remained under the control of Bassanell, Borukhov had no

idea that he purportedly sold Taira Rx’s assets and pharmacy license to Irina Hakimi, who is the

listed owner of KZ Pharmacy, believing instead that he owned KZ Pharmacy.

       67.     In further keeping with the fact that ownership and management of the pharmacy

practice at 112-53 Queens Boulevard, Forest Hills remained the same after the purported sale to

Hakimi, on multiple occasions the Pharmacy Defendants attempted to deposit a check issued by

GEICO to KZ Pharmacy into a Taira Rx bank account, despite the fact that the two pharmacies

are owned – on paper at least – by two different individuals.

       68.     In addition, the Pharmacy Defendants submitted hundreds of thousands of dollars

in billing to GEICO under the name of KZ Pharmacy, even though KZ Pharmacy had not yet

obtained a pharmacy license in New York State.




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       69.     Specifically, between December 4, 2017 and May 7, 2018 the Defendants

submitted hundreds of thousands of dollars in billing to GEICO under the name of KZ

Pharmacy, even though KZ Pharmacy did not obtain a New York State pharmacy license until

May 8, 2018.

       70.     Despite the purported changes in ownership, the pharmacy at 112-53 Queens

Boulevard, Forest Hills continued to receive the same types of fraudulent prescriptions from

many of the same prescribing physicians, including prescriptions for the Fraudulent Pain

Products.

       71.     At all times, Bassanell and John Doe Nos. “1” through “5” have exercised control

and decision-making authority relating to the operation and management of the Pharmacies.

       72.     Borukhov and Hakimi are the owners, in name only, of Taira Rx and KZ

Pharmacy, respectively, and serve in those roles solely to create the appearance that MSB Rx,

Taira Rx, and KZ Pharmacy are small, neighborhood pharmacies.

       73.     Despite purporting to be small neighborhood pharmacies MSB Rx, Taira Rx, and

KZ Pharmacy have dispensed large quantities of the Fraudulent Compounded Drugs.

       74.     MSB Rx, Taira Rx, and KZ Pharmacy have dispensed the Fraudulent

Compounded Drugs, which are not approved by the FDA, in set formulations, without tailoring

the medications to the individual needs of any individual patient, and without complying with

licensing requirements that are designed to ensure the quality, safety, and effectiveness of bulk

compounded drug products.

       75.     MSB Rx, Taira Rx, and KZ Pharmacy, rather than dispensing commercially

available, FDA-approved medications with proven efficacy, intentionally produced and

dispensed exorbitantly priced compounded pain creams and gels (i.e., the Fraudulent




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Compounded Drugs) by intentionally assembling combinations of expensive drug ingredients

without regard to the absence of any proven topical efficacy of the combination of ingredients.

       76.     MSB Rx, Taira Rx, and KZ Pharmacy billed GEICO approximately $1,070.76 to

$2,364.00 for each single tube of compounded pain cream.

       77.     The Defendants knew that the topical efficacy of the voluminous Fraudulent

Compounded Drugs that MSB Rx, Taira Rx, and KZ Pharmacy produced and dispensed was

unproven and knew that there were a wide range of commercially available, FDA-approved

medications proven to have therapeutic effects available at a fraction of the cost.

       78.     The Defendants knew that there was no legitimate medical need for the

Fraudulent Compounded Drugs that could explain why a commercially available drug product

would not be appropriate for the patients who were instead prescribed and dispensed the

exorbitantly-priced compounded pain creams and gels.

       79.     The Pharmacy Defendants, solely to maximize profits, had MSB Rx, Taira Rx,

and KZ Pharmacy produce large quantities of compounded drugs in set formulations and

dispense other exorbitantly priced Fraudulent Pain Products, as part of collusive arrangements

made with licensed physicians and their associates (i.e., the “Prescribing Defendants ”) to

compound and dispense specially marked, formulaic prescriptions.

       80.     The Pharmacy Defendants gave out pre-printed labels and/or rubber stamps to

licensed physicians and others, which contained the names and ingredients of the Fraudulent

Pain Products that were created, produced, and/or dispensed by MSB Rx, Taira Rx, and KZ

Pharmacy.

       81.     The Pharmacy Defendants, using the pre-printed labels and/or rubber stamps,

arranged to have the Prescribing Defendants issue coded, predetermined prescriptions, so that the




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Fraudulent Pain Products could be dispensed and billed pursuant to the Defendants’

predetermined, fraudulent treatment protocol.

        82.        Specifically, in furtherance of the fraudulent scheme, the Prescribing Defendants,

operating from No-Fault Clinics that treat thousands of Insureds, purported to prescribe the

medically unnecessary and illusory Fraudulent Pain Products to the Insureds, which in turn

permitted the Pharmacy Defendants to bill GEICO for the Fraudulent Pain Products under the

names of MSB Rx, Taira Rx, and KZ Pharmacy.

        83.        To conceal the scheme, the Pharmacy Defendants presented MSB Rx, Taira Rx,

and KZ Pharmacy as legitimate, neighborhood pharmacies engaged in the lawful practice of

pharmacy and drug compounding in response to valid prescriptions received from the

Prescribing Defendants.

        84.        Notwithstanding the Pharmacy Defendants’ attempt to conceal the scheme and

present MSB Rx, Taira Rx, and KZ Pharmacy as neighborhood pharmacies, Bassanell and the

other Defendants directly violated New York State and Federal regulatory and licensing

requirements that govern large-scale drug compounders, drug manufacturers and outsourcing

facilities and which prohibit collusive arrangements for compounding and/or dispensing of coded

or specially marked prescriptions – all of which poses a significant threat to the health and safety

of the patients.

        85.        The Fraudulent Compounded Drugs produced by MSB Rx and Taira Rx (i) were

not medically necessary; (ii) contained a combination of ingredients that produced no significant

difference between the compounded drug and comparable commercially available products; (iii)

were almost never prescribed properly under the governing regulations; and (iv) were

“prescribed” and produced in large quantities without regard to medical necessity or the




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regulations governing the appropriate use of compounded drug products, as part of unlawful

arrangements with the Prescribing Defendants.

       86.     In short, the scheme speared by Bassanell, involving the production and

dispensing of the Fraudulent Compounded Drugs by MSB Rx, Taira Rx, and KZ Pharmacy,

which were prescribed by the physicians and their associates working in collusion with MSB Rx,

Taira Rx, and KZ Pharmacy, served no purpose other than to exploit the Insureds’ No-Fault

benefits so as to financially benefit the Defendants.

       B.      The Fraudulent Diclofenac Prescriptions

       87.     The Pharmacy Defendants routinely billed GEICO for exorbitantly priced

diclofenac sodium gel (“Diclofenac Gel”) and diclofenac sodium patch (“Diclofenac Patch”)

prescriptions, purportedly prescribed by several physicians, including the Prescribing

Defendants.

       88.     The FDA requires that diclofenac sodium prescriptions contain a “black box”

warning indicating serious cardiovascular and gastrointestinal risks.

       89.     A “black box” warning is the strictest warning attached to the labeling of a

prescription drug or product by the FDA and is designed to call attention to serious or life-

threatening risks associated with the drug or product.

       90.     Specifically, every diclofenac sodium prescription is required by the FDA to warn

the patient that: (i) diclofenac sodium may cause an increased risk of serious cardiovascular

thrombotic events, myocardial infarction, and stroke, which can be fatal; and (ii) diclofenac

sodium cause an increased risk of serious gastrointestinal adverse events including bleeding,

ulceration, and perforation of the stomach or intestines, which can be fatal.




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         91.    Nevertheless, the Prescribing Defendants, among others, routinely routed

diclofenac sodium prescriptions to the Pharmacy Defendants, oftentimes, in addition to directing

the Insureds to continue with OTC non-steroidal anti-inflammatory drugs (“NSAIDs”), e.g.,

ibuprofen or naproxen.

         92.    The Prescribing Defendants prescribed diclofenac sodium in conjunction with

OTC NSAIDs to numerous Insureds, despite the risks it posed to Insured’s health and well-

being.

         93.    The Diclofenac Gels were prescribed pursuant to predetermined treatment

protocols and without regard for patient care and safety, or the commercial availability of a wide

range of FDA-approved medications, as well as OTC medications, proven to have therapeutic

effects and available at a fraction of the cost.

         94.    In keeping with the fact that diclofenac sodium was being prescribed and

dispensed pursuant to predetermined treatment protocols and without regard for patient care and

safety, the initial examination reports prepared by the prescribing physicians virtually never

stated the medical basis for the prescriptions and, in some cases, failed to acknowledge that the

patient was even being prescribed diclofenac sodium.

         95.    In further keeping with the fact that the Diclofenac Gels and Patches were

prescribed and dispensed pursuant to predetermined treatment protocols and without regard for

patient care, the follow-up examination reports prepared by the prescribing physicians virtually

never addressed whether the Diclofenac Gels and Patches were effective or not, to what degree,

or whether the patients experienced any side effects.

         96.    Not surprisingly, the OIG in its August 2018 report on questionable billing for

topical compounded drugs, noted that one of the most common products billed for by pharmacies




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with questionable billing was diclofenac sodium because, among other reasons, there is a striking

difference between the cost of a compounded topical containing diclofenac sodium and a non-

compounded version of the same drug.

       97.     There is no legitimate medical reason for the Prescribing Defendants to prescribe

large volumes of Diclofenac Gels and Patches to Insureds, particularly given the potential for

adverse health effects.

        98.    But for the payments of kickbacks from the Pharmacy Defendants, generated

from the exorbitant charges for compounded diclofenac sodium, the Prescribing Defendants

would not have prescribed the predetermined, medically unnecessary Diclofenac Gels and

Patches and would not have directed the prescriptions to the Pharmacy Defendants.

       99.     The Pharmacy Defendants and the Prescribing Defendants have affirmatively

concealed the particular amounts paid for the kickbacks since such kickbacks are in violation of

New York law.

       100.    Nevertheless, based on the circumstances surrounding the illegal, collusive,

arrangements, the Pharmacy Defendants paid a financial kickback, and the Prescribing

Defendants received a financial kickback, for each of the particular prescriptions for the

Diclofenac Gels and Patches that were dispensed by the Pharmacies. The payment of such

kickbacks was made at or near the time the prescriptions were issued.

       C.      The Fraudulent Compounded Drugs

               1.         MSB Rx and Taira Rx Specialized in Large Scale Drug Compounding
                          Activity in Violation of New York State and Federal Law Governing
                          Drug Manufacturers and Outsourcing Facilities

       101.    As stated above, compounded drug products are only appropriate in limited

circumstances, should be formulated for an individual patient’s needs upon receipt of a valid




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prescription for an identified individual or a notation on a prescription stating that a compounded

product is necessary for the identified patient, and should not be prescribed and dispensed as a

matter of course.

       102.    The Pharmacy Defendants, however, blatantly exploited the No-Fault insurance

reimbursement system by entering into collusive relationships involving the marketing and

soliciting of prescriptions for the same predetermined Fraudulent Compounded Drugs that were

dispensed again and again to numerous Insureds involved in minor fender-bender type accidents,

generating millions of dollars in fraudulent billing to New York automobile insurers.

       103.    MSB Rx, Taira Rx, and KZ Pharmacy, acting under the guise of neighborhood

pharmacies, intentionally assembled a combination of expensive drug ingredients solely to

produce exorbitantly priced topical compounded pain creams and gels that they could use to

generate huge volumes of inflated billing, as part of collusive, steering relationships with the

Prescribing Defendants.

       104.    In furtherance of the scheme, the Pharmacy Defendants gave the Prescribing

Defendants a series of labels or rubber stamps that contained the name of the compounded pain

cream and the formulation, including the names of the particular drug ingredients and percentage

concentrations of each ingredient used.

       105.    Specifically, the MSB Rx, Taira Rx, and KZ Pharmacy routinely produced,

marketed, and dispensed, among others, the following predetermined, formulaic Fraudulent

Compounded Drugs:

           •   Compound DL, with the following ingredients:
                 o Diclofenac sodium
                 o Lidocaine




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           •   Compound DBCGT pain cream (also called Compound D7), with the following
               ingredients:
                   o Baclofen
                   o Cyclobenzaprine hydrochloride
                   o Tetracaine hydrochloride
                   o Gabapentin
                   o Diclofenac sodium
                   o Versapro cream base

           •   COMP0-0001-94 with the following ingredients
                 o Ketoprofen
                 o Lidocaine
                 o Amitriptyline
                 o Baclofen
                 o Clonidine
                 o Dimethyl sulfoxide
                 o Gabapentin
                 o Versapro cream base

       106.    MSB Rx and Taira Rx typically billed: (i) between $1,218.02 and $2,364.00 for

single tube of Compound DL; and (ii) between $1,218.02 and $2,141.10 for a single tube of

Compound DBCGT.

       107.    KZ Pharmacy typically billed between $1,070.76 and $1,557.94 for single tube of

COMP0-0001-94.

       108.    The Fraudulent Compounded Drugs were not created or prescribed by the

Prescribing Defendants to meet the unique needs of any individual patient.

       109.    Instead, the Fraudulent Compounded Drugs were produced and dispensed by

MSB Rx, Taira Rx, and KZ Pharmacy in large quantities without regard to the unique needs of

any individual patient.

       110.    The Pharmacy Defendants never cited a legitimate medical need for Fraudulent

Compounded Drugs that would explain why a commercially available drug product was not

appropriate to dispense to the Insureds who received the Fraudulent Compounded Drugs.




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         111.   Likewise, the Prescribing Defendants never cited a legitimate medical need for

Fraudulent Compounded Drugs that would explain why a commercially available drug product

was not appropriate to prescribe for the Insureds who received the Fraudulent Compounded

Drugs.

         112.   As part of the collusive arrangement with the Prescribing Defendants, the

Pharmacy Defendants produced and distributed the predetermined and Fraudulent Compound

Pain Creams, together with a series of “prescription labels” or “prescription rubber stamps,”

bearing the names, ingredients, and concentrations of those predetermined and formulaic

compounded products, which the Prescribing Defendants then used to imprint their official New

York State prescription pads to prescribe the Fraudulent Compounded Drugs to the Insureds.

         113.   Through the use of the specially marked, or coded prescriptions, with the

“prescription labels” or “prescription rubber stamps,” the Pharmacy Defendants steered the

Prescribing Defendants to prescribe the Fraudulent Compounded Drugs as part of a

predetermined treatment and billing scheme.

         114.   Despite the fact that traditional pharmacy compounding requires the combining,

mixing, or altering of ingredients to create a customized medication for an individual patient in

response to a licensed practitioner’s prescription, the prescription labels and/or rubber stamps

indicate that the Pharmacy Defendants created predetermined compounded drug products that

were produced in bulk.

         115.   Accordingly, the Fraudulent Compounded Drugs, prescribed by the Prescribing

Defendants, and produced by the Pharmacy Defendants, were not customized for individual

patients.




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       116.    A sample of MSB Rx, Taira Rx, and KZ Pharmacy’s bills and the accompanying

prescriptions allegedly issued by the Prescribing Defendants containing labels or rubber stamps,

used to prescribe the Fraudulent Compounded Drugs to Insureds, and which the Defendants

submitted to GEICO in support of their fraudulent billing, is annexed hereto as Exhibit “4”.

       117.    MSB Rx, Taira Rx and KZ Pharmacy, by specializing in creating and dispensing

large volumes of the Fraudulent Compounded Drugs, engaged in bulk compounding activity

(akin to that engaged in by drug manufacturers and outsourcing facilities) as opposed to

compounding individual prescriptions on a case-by-case basis upon receipt of a valid

prescription order.

       118.    The Pharmacy Defendants’ creation and dispensation of predetermined,

compounded drug products in large volumes, renders MSB Rx, Taira Rx, and KZ Pharmacy in

violation of both state and federal licensing laws regulating the safe manufacturing of drugs.

       119.    MSB Rx, Taira Rx, KZ Pharmacy, and the Fraudulent Compounded Drugs are not

exempt from FDA oversight and approval, and similar New York State licensing requirements

applicable to drug manufacturers and outsourcing facilities, because the Fraudulent Compounded

Drugs were clearly not individualized and tailored to meet specific individual patient needs, were

not provided pursuant to legitimate prescriptions, and were illegally compounded in set

formulations in large quantities. See 21 U.S.C. § 355 and 21 U.S.C. 353a(a).

       120.    Furthermore, as drug manufacturers and dispensers, the Pharmacy Defendants

violated 21 U.S.C. § 355(a) which states that “no person shall introduce or deliver for

introduction into interstate commerce any new drug” without first obtaining approval to do so by

way of an application filed with the Secretary with respect to that drug.




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       121.   A “new drug” – as defined by 21 U.S.C. § 321(p)(1) – is “any drug…the

composition of which is such that such drug is not generally recognized…as safe and effective

for use under the conditions prescribed, recommended or suggested in the labeling thereof.”

       122.   MSB Rx, Taira Rx, and KZ Pharmacy’s Fraudulent Compounded Drugs – for

which the Pharmacy Defendants have billed GEICO alone hundreds of thousands of dollars –

have never been FDA-approved and, therefore, were never verified by the FDA as being safe,

effective or quality products. In fact, MSB Rx, Taira Rx, and KZ Pharmacy’s bulk compounding

and dispensing of the Fraudulent Compounded Drugs exposed Insureds to widespread risks

including harmful contraindications, which is why they should have only been prescribed under

unique circumstances in limited circumstances.

              2.      The Prescription and Dispensation of MSB Rx, Taira Rx, and KZ
                      Pharmacy’s Compounded Drugs Was Contrary to Evidenced-Based
                      Medical Practices

       123.   In keeping with the fact that the Fraudulent Compounded Drugs were prescribed

pursuant to the Defendants’ fraudulent scheme intended to generate profits from insurers, MSB

Rx, Taira Rx, KZ Pharmacy’s Fraudulent Compounded Drugs (i) had no medical efficacy based

on the purported symptoms of the patients receiving the compounded products and (ii) were

prescribed without any legitimate reason to provide the patients with expensive compounded

products – which include drugs whose efficacy in topical form is undocumented and unsupported

– when there are many other widely accepted, proven effective alternatives with well

documented therapeutic benefits commercially available at considerably lower costs.

       124.   Evidence-based guidelines for the treatment of acute pain do exist and should

always guide prescribing habits. The World Health Organization (“WHO”) pain relief ladder

recommends a non-opioid such as acetaminophen or a nonsteroidal anti-inflammatory drug




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(“NSAID”) for the initial management of pain. NSAIDs are the most commonly prescribed

analgesic medications worldwide, and their efficacy for treating acute pain has been well

demonstrated. If pain relief is not achieved, and doses are maximized, then an adjuvant oral

agent may be added to the medication regimen – including the use of muscle relaxers, and

medications that block neuropathic pain transmission. Finally, opiates may be prescribed for

short-term, limited use. Clinical studies of FDA-approved topical NSAIDs have shown them to

be no more effective than placebo for treating acute pain (e.g., from strains, sprains, contusions,

or overuse injuries) in superficial locations.

       125.    Because compounded products, like the ones dispensed by MSB Rx, Taira Rx,

and KZ Pharmacy are not FDA-approved – and therefore not subject to FDA regulations

regarding quality, safety and effectiveness of manufactured drug products – they should never be

prescribed as routine therapy.

       126.    Because compounded products, like the ones dispensed by MSB Rx, Taira Rx,

and KZ Pharmacy, are not FDA-approved – and therefore not subject to FDA regulations

regarding quality, safety and effectiveness of manufactured drug products – they should only be

prescribed to meet a legitimate specific need of an individual patient, or when all other forms of

oral and/or topical medications approved for the treatment of pain have failed, or there is a

contraindication for use.

       127.    Topical compounded creams should be the last prescribed intervention, after oral

medications are not tolerated or are deemed ineffective, as well as after any FDA-approved

manufactured topical products have been shown to provide no pain relief to the patient.

       128.    For a topical formulation to be effective, it must first penetrate the skin. In

general, creams are less effective than gels or sprays.




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         129.   The skin is composed of three layers: epidermis, dermis, and hypodermis. Within

the epidermis, the stratus corneum is the outermost layer of the skin that serves as the main

barrier to drug entry. For analgesic medicines to be absorbed through the skin, they must contain

optimal drug combinations, effective concentrations of each drug, and a compounding base with

the appropriate physiochemical properties to facilitate absorption.

         130.   In order for a drug to alleviate pain, it must reach nerve or tissue receptors

responsible for producing or transmitting a person’s sensation of pain.

         131.   Oral pain relievers reduce or alleviate pain by entering the bloodstream through

the gastrointestinal system and traveling to the relevant nerve or tissue receptors. Some of the

limited circumstances in which a physician would prescribe a topical medication include patients

in whom these oral medications are contraindicated – those with moderate to severe kidney or

liver dysfunction, or those with comorbidities that preclude the use of oral nonsteroidal anti-

inflammatory drugs (e.g., history of peptic ulcer disease or congestive heart failure).

         132.   Many of MSB Rx, Taira Rx, and KZ Pharmacy’s Fraudulent Compounded Drugs

contain combinations of drugs that make no clinical sense and have no efficacious value in

treating musculoskeletal and neuropathic injuries – even assuming that the Insureds the

Prescribing Defendants treated actually suffered from such injuries.

         133.   There are no published, peer-reviewed, controlled studies to support that patients

who suffer from musculoskeletal pain or neuropathy have achieved any therapeutic effect from

using topical pain creams containing the drugs that are part of the Fraudulent Compounded

Drugs.

         134.   Further, many of the Fraudulent Compounded Drugs are available in alternative

oral formulations or are commercially available in different topical formulations.




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        135.    The alternatives to the Fraudulent Compounded Drugs, whether in oral

formulations or commercially available topical formulations, have proven to therapeutically

benefit patients with musculoskeletal and neuropathic pain, are FDA-approved, and are

commonly prescribed by healthcare providers who utilize evidence-based medicine for their

prescribing practices.

        136.    Contrary to evidenced-based medical practices, the Fraudulent Compounded

Drugs were routinely prescribed by the Prescribing Defendants and administered without regard

to whether other forms of oral and/or topical medications approved for the treatment of pain have

failed, or there was a contraindication for their use.

        137.    The Prescribing Defendants failed to practice evidence-based medicine; rather,

the Prescribing Defendants prescribed the Fraudulent Compounded Drugs based on their illegal,

collusive arrangements with the Pharmacy Defendants that employed a fraudulent predetermined

treatment and billing protocol designed to enrich all of the Defendants.

        138.    Tellingly,   the Prescribing Defendants      often   prescribed   the Fraudulent

Compounded Drugs during periodic visits to the various No-Fault medical mills, without any

review of the primary treating doctor’s notes or records, and without any consultation with such

practitioner.

        139.    Even if the Prescribing Defendants knew about, and authorized, the prescriptions

for particular Fraudulent Compounded Drugs, the Prescribing Defendants failed to recommend

that the Insureds first try over-the-counter FDA-approved oral and topical medications and assess

their effectiveness, prior to prescribing the Fraudulent Compounded Drugs produced and

dispensed by the Pharmacy Defendants in large quantities.




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       140.    The Prescribing Defendants also did not document in their examination reports

that the patients were intolerant of, or unresponsive to, commercially available products.

       141.    The Prescribing Defendants also did not document in their examination reports

why any compounded drug product was medically necessary, or why the particular Fraudulent

Compounded Drug they ultimately prescribed for the patient was medically necessary.

       142.    The Prescribing Defendants also failed to document in their follow-up

examination reports whether the Fraudulent Compounded Drug prescribed to a particular patient

was actually used by the patient.

       143.    The Prescribing Defendants also failed to document in their follow-up

examination reports whether the Fraudulent Compounded Drug provided any pain relief to the

patient or was otherwise effective for the purpose prescribed.

       144.    The Prescribing Defendants also failed to prescribe individually tailored

compounded products, made for an identified individual Insured, which provided superior

efficacy than comparable commercially available products.

       145.    Likewise, MSB Rx, Taira Rx, and KZ Pharmacy never dispensed individually

tailored compounded products, made for an identified individual Insured, which provided

superior efficacy than comparable commercially available products.

               3.      The Fraudulent Compounded Drugs Were Prescribed and Dispensed
                       Without Regard to Genuine Patient Care

       146.    In basic terms, the goal of medical treatment is to help patients get better in a

timely manner.      Notwithstanding this basic goal, the Insureds treated by the Prescribing

Defendants were virtually always subjected to a predetermined treatment protocol, which was

both unnecessarily prolonged and totally lacking in individualized care, which did not utilize




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evidence based practices with the goal of the Insureds’ safe and timely return to good health.

Conversely, the treatment reports almost uniformly reflected that the Insureds treated by the

Prescribing Defendants did not get better, did not return to good health, and/or did not

experience improvement in their conditions such that the Insureds could terminate medical

treatment expeditiously and return to normal activity.

        147.   As part of the predetermined protocol, the Prescribing Defendants produced

examination reports that were generic, preprinted, and boilerplate, designed to justify continuing,

voluminous, and excessive healthcare services that the No-Fault Clinic providers purported to

render to Insureds thereafter, including the prescription of Fraudulent Compounded Drugs.

        148.   Notwithstanding the creation of the examination reports, the Prescribing

Defendants’ prescriptions of the Fraudulent Compounded Drugs were not medically necessary

and were based on a predetermined protocol, provided without regard to the genuine needs of the

patients.

        149.   To the extent any examination was actually performed at all, the Prescribing

Defendants failed to document a detailed medical history of the patients to whom they prescribed

the Fraudulent Compounded Drugs. Prescribing compounded products without first taking a

detailed patient history demonstrates a gross indifference to patient health and safety as the

Prescribing Defendants often did not know whether the patient was currently taking any

medication or suffering from any co-morbidities that would contraindicate the use of a

compounded drug product.

        150.   The Prescribing Defendants’ failure to document a detailed medical history of the

patients to whom they prescribed the Fraudulent Compounded Drugs is also indicative that the

Prescribing Defendants did not prescribe the compounded drug products to meet the unique




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needs of a particular patient that could not be met with an existing FDA-approved medication

because the inadequate examinations would not be able to identify any such unique needs.

       151.    What is more, the Prescribing Defendants’ initial examination reports and follow-

up examination reports made no mention whatsoever of the specific Fraudulent Compounded

Drugs the Insureds were prescribed. The follow up exams, in particular, failed to document the

result of the prescribed compound.

       152.    The Prescribing Defendants’ inadequate initial examination and follow-up

examination reports provide further evidence that (i) the Fraudulent Compounded Drugs were

not medically necessary and were provided and billed for pursuant to a predetermined fraudulent

treatment protocol; (ii) the Fraudulent Compounded Drugs were not individually tailored to meet

the unique needs of a particular patient in response to a valid prescription and, therefore, not

FDA-exempt; (iii) the Pharmacy Defendants and the Prescribing Defendants were engaged in

collusive steering arrangements in violation of New York law; and (iv) MSB Rx, Taira Rx, and

KZ Pharmacy are not neighborhood pharmacies, but are illegal manufacturers and producers of

predetermined, mass produced drug products acting in violation of law.

       D.      The Fraudulent Pain Patches

       153.    In addition to engaging in large-scale drug manufacturing under the guise of

pharmacy compounding and dispensing medically unnecessary Diclofenac gels, the Prescribing

Defendants prescribe and the Pharmacy Defendants purport to dispense various pain patches –

including Terocin Patches, Lidoderm Patches, Levatio Patches, and Flector Patches – by means

of the Fraudulent Scripts.

       154.    In keeping with the fact that the Fraudulent Pharmaceuticals are prescribed

pursuant to predetermined treatment and billing protocols designed to maximize profits without




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regard to patient care, the Defendants prescribe, dispense and bill for Pain Patches at exorbitant

prices despite the fact that there are other, less expensive, commercially available FDA approved

patches available.

        155.    For example, the Pharmacy Defendants dispensed and billed for Terocin 4%

patches – a non-prescription item – at $1,892.00 for ten patches. Not only are Terocin Patches

available for purchase at a fraction of that price, but in addition to menthol, the primary

ingredient in Terocin Patches is Lidocaine which itself is available in an FDA approved patch for

a fraction of the cost.

        156.    As with the Fraudulent Compounded Drugs, many patients are not aware they are

to receive any Pain Patches until the patches are given to them by the receptionists at the No-

Fault Clinics or are mailed to the patients’ homes.

        157.    In keeping with the fact that the Defendants act with gross indifference to patient

care and safety, the patients are generally not instructed on the safe use, side effects or risks

associated with the Pain Patches which may include blood toxicity, eye irritation from

inadvertent contact, and symptoms of overdose if not used correctly.

        E.      The Illegal, Collusive Arrangements Between the Pharmacy Defendants and
                the Prescribing Defendants

        158.    In furtherance of the fraudulent scheme, the Defendants participated in illegal,

collusive arrangements in which the Prescribing Defendants named herein (along with the other

prescribing providers), prescribed the medically unnecessary Fraudulent Pain Products in

violation of New York law.

        159.    New York’s statutory framework specifically prohibits collusive arrangements

between licensed physicians and pharmacies involving compounded or specially marked prescriptions.




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See Education Law § 6530(38) and § 6811 (7). In fact, Education Law § 6811 (7) makes such

agreements criminal.

        160.    Here, the Pharmacy Defendants arranged with various No-Fault Clinics that treat

thousands of Insureds to have the licensed physicians and/or their associates operating therefrom,

including the Prescribing Defendants, prescribe, or purport to prescribe, the medically

unnecessary and illusory Fraudulent Compounded Drugs to the Insureds, which in turn permitted

the Pharmacy Defendants to bill GEICO huge sums under the names of MSB Rx, Taira Rx, and

KZ Pharmacy.

        161.    In furtherance of the scheme, the Prescribing Defendants intentionally prescribed,

or purported to prescribe, the Fraudulent Pain Products to patients of the No-Fault Clinics

pursuant to the Defendants’ fraudulent predetermined treatment and billing, without regard to

genuine patient care and safety, without regard to pharmacologic outcomes, and without regard

to cost and attention to fiscal responsibility.

        162.    In furtherance of the scheme, the Prescribing Defendants prescribed, or purported

to prescribe, the Fraudulent Pain Products to patients of the No-Fault Clinics pursuant to

formulaic, coded “prescriptions,” rubber-stamped with the name and formula of one of the

Fraudulent Pain Products produced or dispensed by MSB Rx, Taira Rx, and KZ Pharmacy.

        163.    The Pharmacy Defendants supplied pre-set labels or rubber-stamps to the

Prescribing Defendants, who used the stamp or label on their New York State prescription forms

in order to repeatedly issue predetermined, formulaic, and unnecessary compounded

pharmaceuticals designed to exploit the patients’ No-Fault insurance benefits.

        164.    In fact, the Prescribing Defendants prescribed, or purported to prescribe, the

Fraudulent Compounded Drugs to patients of the No-Fault Clinics, despite their knowledge that




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the Fraudulent Compounded Drugs were not customized or tailored to the individual needs of a

particular patient; despite their knowledge that there were FDA-approved drugs available and

appropriate for the particular patients; and despite their knowledge that the Fraudulent

Compounded Drugs were medically unnecessary, and were being prescribed without regard to

pharmacologic outcomes or cost and attention to fiscal responsibility.

         165.   The Pharmacy Defendants never gave the prescriptions to the Insureds to fill

(even though the prescriptions were paper prescriptions) and did not give the Insureds the option

to use a pharmacy of their choosing.

         166.   The Pharmacy Defendants directed the prescriptions for the Fraudulent

Compounded Drugs to MSB Rx, Taira Rx, and KZ Pharmacy – and no other pharmacies –

because the prescriptions were only being issued because of the illegal, collusive arrangements

among the Pharmacy Defendants and the Prescribing Defendants.

         167.   MSB Rx, Taira Rx, and KZ Pharmacy purported to mail or deliver the Fraudulent

Compounded Drugs directly to the Insureds’ homes, without the patient ever receiving the actual

written prescription and, in many cases, without the patient even knowing that they were to

receive a pain cream or patch.

         168.   Alternatively, the Insureds sometimes were given the Fraudulent Pain Product

directly from the front desk staff at the various No-Fault Clinics without ever seeing the actual

prescription or, in many cases, without even knowing that they were to receive a pain cream or

patch.

         169.   In order to ensure that the prescriptions were filled by MSB Rx, Taira Rx, and KZ

Pharmacy and to ensure that the Pharmacy Defendants benefitted financially from the




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prescriptions, the Prescribing Defendants did not give the Insureds the option to identify a

pharmacy of their choosing.

        170.   The Prescribing Defendants had no legitimate medical reason to prescribe the

predetermined, medically unnecessary Fraudulent Pain Products in large quantities to their

patients.

        171.   The Prescribing Defendants would not have engaged in the illegal, collusive

arrangements with the Pharmacy Defendants in violation of New York law, including using

rubber stamps or labels distributed by the Pharmacy Defendants, intentionally prescribing

medically unnecessary Fraudulent Pain Products, and directing those prescriptions to MSB Rx,

Taira Rx, and KZ Pharmacy, unless they profited from their participation in the illegal scheme.

        172.   But for the payments of kickbacks from the Pharmacy Defendants, the Prescribing

Defendants would not have prescribed the predetermined, medically unnecessary Fraudulent

Compounded Drugs, which were not individually tailored to meet a unique need of any

particular patient, and would not have directed the prescriptions to MSB Rx, Taira Rx, and KZ

Pharmacy.

        173.   The Pharmacy Defendants and the Prescribing Defendants have affirmatively

concealed the particular amounts paid for the kickbacks since such kickbacks are in violation of

New York law.

        174.   Nevertheless, based on the circumstances surrounding the illegal, collusive,

arrangements, the Pharmacy Defendants paid a financial kickback, and the Prescribing

Defendants received a financial kickback, for each of the particular prescriptions for the

Fraudulent Pain Products that were dispensed by MSB Rx, Taira Rx, and KZ Pharmacy. The

payment of such kickbacks was made at or near the time the prescriptions were issued.




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        F.     The Fraudulent Billing for Services Provided by Independent Contractors

        175.   The Defendants’ fraudulent scheme also included submission of claims to GEICO

seeking payment for services performed by independent contractors. Under the No-Fault Laws,

healthcare providers are ineligible to bill or receive payment for goods or services provided by

independent contractors – the healthcare services must be provided by the healthcare providers

themselves, or by their employees. See 11 N.Y.C.R.R. § 65-3.11.

        176.   Since 2001, the New York State Insurance Department consistently has

reaffirmed its longstanding position that professional corporations are not entitled to receive

reimbursement under the No-Fault Laws for healthcare providers performing services as

independent contractors. See DOI Opinion Letter, February 21, 2001 (“where the health services

are performed by a provider who is an independent contractor with the PC and is not an

employee under the direct supervision of a PC owner, the PC is not authorized to bill under No-

Fault as a licensed provider of those services”); DOI Opinion Letter, February 5, 2002 (refusing

to modify position set forth in 2-11-01 Opinion letter despite a request from the New York State

Medical Society); DOI Opinion Letter, March 11, 2002 (“If the physician has contracted with the

PC as an independent contractor, and is not an employee or shareholder of the PC, such

physician may not represent himself or herself as an employee of the PC eligible to bill for health

services rendered on behalf of the PC, under the New York Comprehensive Motor Vehicle

Insurance Reparations Act…”); DOI Opinion Letter, October 29, 2003 (extending the

independent contractor rule to hospitals); DOI Opinion Letter, March 21, 2005 (DOI refused to

modify its earlier opinions based upon interpretations of the Medicare statute issued by the

CMS).




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       177.    The pharmacists and pharmacy technicians that prepared and dispensed the

Fraudulent Pain Products billed to GEICO through Taira Rx and KZ Pharmacy were not genuine

employees of those companies, but were controlled by Bassanell and/or employed by his

company, MSB Rx.

       178.    Even so, the Defendants routinely submitted charges to GEICO and other insurers

under the tax identification numbers of Taira Rx and KZ Pharmacy for Fraudulent Pain Products

that falsely represented that the goods and services were provided by employees of Taira Rx and

KZ Pharmacy.

       179.    To the extent that they were provided in the first instance, all of the Fraudulent Pain

Products billed through Taira Rx and KZ Pharmacy were prepared and dispensed by pharmacists

and technicians that were treated as independent contractors.

       180.    For instance, Taira Rx and KZ Pharmacy:

               (i)     paid the pharmacists and technicians, either in whole or in part, on a
                       1099 basis rather than a W-2 basis, or arranged for them to be paid
                       by another corporate entity entirely;

               (ii)    established an understanding with the pharmacists and pharmacy
                       technicians that they were independent contractors, rather than
                       employees;

               (iii)   paid no employee benefits to the pharmacists and pharmacy
                       technicians;

               (iv)    failed to secure and maintain W-4 or I-9 forms for the pharmacists
                       and pharmacy technicians;

               (v)     failed to withhold federal, state or city taxes on behalf of the
                       pharmacists and pharmacy technicians;

               (ix)    failed to cover the pharmacists and pharmacy technicians for either
                       unemployment or workers’ compensation benefits;




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               (x)     filed corporate and payroll tax returns (e.g. Internal Revenue Service
                       (“IRS”) forms 1120 and 941) that represented to the IRS and to the
                       New York State Department of Taxation that the pharmacists and
                       pharmacy technicians were independent contractors; and/or

               (xi)    did not actually direct or control the work performed by the
                       pharmacists and pharmacy technicians since they all worked under
                       the control of Bassanell and/or his company MSB Rx.

       181.    By treating the pharmacists and pharmacy technicians as independent contractors,

the Defendants realized significant economic benefits – for instance:

               (i)     avoiding the obligation to collect and remit income tax as required
                       by 26 U.S.C. § 3102;

               (ii)    avoiding payment of the FUTA excise tax required by 26 U.S.C. §
                       3301 (6.2 percent of all income paid);

               (iii)   avoiding payment of the FICA excise tax required by 26 U.S.C. §
                       3111 (7.65 percent of all income paid);

               (iv)    avoiding payment of workers’ compensation insurance as required
                       by New York Workers’ Compensation Law § 10;

               (v)     avoiding the need to secure any malpractice insurance; and

               (vi)    avoiding claims of agency-based liability arising from work
                       performed by the pharmacists or pharmacy technicians.

       182.    Because the pharmacists and pharmacy technicians that prepared and dispensed the

Fraudulent Pain Products were independent contractors, Taira Rx and KZ Pharmacy never had any

right to bill for or collect No-Fault Benefits in connection with those services.

       183.    The Defendants billed for the Fraudulent Pain Products as if they were prepared and

dispensed by actual employees of Taira Rx and KZ Pharmacy to make it appear as if the services

were eligible for reimbursement. The Defendants’ misrepresentations were consciously designed to

mislead GEICO into believing that it was obligated to pay for these services, when in fact GEICO

was not.




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       G.      The Fraudulent Billing the Defendants Submitted or Caused to be Submitted
               to GEICO

       184.    Every prescription product, whether a brand name or generic drug, has a

designated national drug code (“NDC”) – a unique 10-digit code that identifies the drug itself,

the vendor of the drug and the quantity in which the drug was packaged. Each NDC number has

an assigned Average Wholesale Price (“AWP”).

       185.    Each NDC (and, thus, the AWP) for a particular prescription product differs

depending on both the particular supplier the drug is purchased from and the quantity in which

the drug is obtained. The same drug can have a different NDC number if it is purchased from a

different supplier and/or in different quantities.

       186.    The maximum amount that a healthcare provider may charge for a medically

necessary prescription drug or product is based upon the drug’s NDC number. With respect to

compounded products, the maximum that a healthcare provider may charge is based on each

individual ingredient included in the compounded product and their corresponding NDC

numbers and AWPs.

       187.    Pursuant to 12 N.Y.C.R.R. §§ 440.5(a) and (d) (the “Pharmacy Fee schedule”),

for each brand name drug (or ingredient included in a compounded product) a provider may

charge no more than the AWP assigned to that particular NDC on the day the drug was

dispensed minus 12% of the AWP, plus a single dispensing fee of $4.00.

       188.    For each generic drug (or ingredient included in a compounded product) the

provider may charge no more than the AWP assigned to that particular NDC on the day the drug

was dispensed minus 20% of the AWP, plus a single dispensing fee of $5.00.

       189.    AWP is defined by 12 N.Y.C.R.R. § 440.2(a) as:




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               “[t]he average wholesale price of a prescription drug as provided in the
               most current release of the Red Book published by Thomson Reuters or
               Medi-Span Master Drug Database by Wolters Kluwer Health or any
               successor publisher, on the day a prescription drug is dispensed or other
               nationally recognized drug pricing index adopted by the Chair or Chair's
               designee.”

       190.    When a pharmacist bills for dispensing prescription drugs (including compounded

products), it must bill based on the actual NDC number (and the assigned AWP) for that drug or

compound drug ingredient. It cannot use the NDC of the same ingredient available from a

different supplier and/or purchased in different quantities in order to inflate the assigned AWP.

       191.    The Pharmacy Defendants purported to provide the Fraudulent Pain Products,

including the Fraudulent Compounded Drugs, directly to GEICO Insureds, and sought

reimbursement directly from GEICO pursuant to executed “Assignment of Benefit” (“AOB”)

forms. With regard to compounded products, MSB Rx, Taira Rx, and KZ Pharmacy’s bills list

each ingredient separately along with the corresponding charge for each. The total billed amount

for MSB Rx and Taira Rx’s compounded products ranges as high as $2,364.00 for a single

Fraudulent Pain Product.

       192.    In support of its charges, the Pharmacy Defendants submitted: (i) the Prescribing

Defendants’ prescription forms, bearing the pre-printed or rubber-stamped name and formula of

the prescription drug or compounded drug product; (ii) a “No-Fault” form, known as an NF-3

Form, which includes the purported NDC numbers, units, and corresponding charges for each

drug or ingredient in the billed-for Fraudulent Compounded Drugs; (iii) an invoice from the

Pharmacy Defendants listing the quantities of the drug or ingredients in the Fraudulent

Compounded Drugs, the name of the prescribing physician, and the total amount due; and (iv)

the AOB in which the Insured assigned their benefits to the Pharmacy Defendants.




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       193.    The NDC numbers listed on the NF-3 Forms submitted by the Pharmacy

Defendants identify the AWPs for each of the prescriptions drugs or compound drug ingredients

contained within the Fraudulent Compounded Drugs.

       194.    Notably, however, the Pharmacy Defendants never submitted its purchase

invoices demonstrating how much the Pharmacy Defendants paid the supplier for the ingredients

or the quantities in which the ingredients were obtained.

       195.    The Pharmacy Defendants also refused to identify for GEICO the number of

prescriptions dispensed for the Fraudulent Compounded Drugs, notwithstanding the Pharmacy

Defendants’ legal obligation to maintain appropriate records of prescriptions.

       196.    The Pharmacy Defendants, purely to exploit the No-Fault reimbursement

regulations relating to pharmaceutical products, intentionally assembled numerous individual

ingredients to produce each of the Fraudulent Compounded Drugs.

       197.    The combination of numerous drugs in each of the Fraudulent Compounded

Drugs have no proven, documented superior efficacy than commercially available, FDA

products available at a fraction of the cost.

       198.    The sole reason for the Pharmacy Defendants’ intentional assembling of large

combinations of drugs was to inflate the charges and maximize their billing to exploit New York

automobile insurance carriers, as pharmacy providers are ordinarily statutorily reimbursed for

each individual ingredient contained in a compounded drug product.

V.     The Defendants’ Submission of Fraudulent NF-3 Forms to GEICO

       199.    To support the fraudulent charges, statutorily prescribed claim forms for No-Fault

Benefits consistently have been submitted to GEICO by and on behalf of MSB Rx, Taira Rx, and




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KZ Pharmacy seeking payment for the pharmaceuticals for which it is ineligible to received

payment.

       200.    These forms, including NF-3 forms, HCFA-1500 forms and other supporting

records that the Defendants submitted or caused to be submitted to GEICO, were false and

misleading in the following material respects:

               (i)     The NF-3 forms, HCFA-1500 forms, and other supporting records
                       uniformly misrepresented to GEICO that the Fraudulent Pain
                       Products were medically necessary. In fact, the Pharmacy
                       Defendants produced and dispensed the Fraudulent Pain Products
                       pursuant to predetermined fraudulent treatment protocols solely to
                       financially enrich themselves, without regard for the topical
                       efficacy of the Fraudulent Pain Product or the availability of a wide
                       range of commercially available, FDA-approved medications or
                       OTC medications proven to have therapeutic effects available at a
                       fraction of the cost.

               (ii)    The NF-3 forms, HCFA-1500 forms, and other supporting records
                       uniformly misrepresented to GEICO that the Pharmacy Defendants
                       complied with all material licensing laws and, therefore, are eligible
                       to receive No-Fault Benefits pursuant to Insurance Law §
                       5102(a)(1) and 11 N.Y.C.R.R. § 65-3.16(a)(12). In fact, the
                       Pharmacy Defendants did not comply with all material licensing
                       laws in that the Defendants participated in illegal, collusive
                       agreements in which the Pharmacy Defendants solicited and
                       received formulaic and medically unnecessary prescriptions from
                       licensed physicians and/or their associates for the Fraudulent Pain
                       Products produced by MSB Rx and Taira Rx, in violation of law;
                       and

               (iii)   The NF-3 forms, HCFA-1500 forms, and other supporting records
                       uniformly misrepresented to GEICO that the Pharmacy Defendants
                       complied with all material licensing laws and, therefore, are eligible
                       to receive No-Fault Benefits pursuant to Insurance Law §
                       5102(a)(1) and 11 N.Y.C.R.R. § 65-3.16(a)(12). In fact, the
                       Pharmacy Defendants did not comply with all material licensing
                       laws in that they engaged in illegal bulk compounding by producing
                       and dispensing large quantities of the Fraudulent Compounded
                       Drugs in set formulations, in violation of Federal and New York
                       State regulatory and licensing requirements imposed on drug




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                      manufacturers and outsourcing facilities, rendering the Pharmacies
                      ineligible to receive reimbursement for No-Fault insurance benefits.

               (iv)   In the case of KZ Pharmacy, the NF-3 forms, HCFA-1500 forms,
                      and other supporting records frequently misrepresented to GEICO
                      that KZ Pharmacy complied with all material licensing laws and,
                      therefore, was eligible to receive No-Fault Benefits pursuant to
                      Insurance Law § 5102(a)(1) and 11 N.Y.C.R.R. § 65-3.16(a)(12). In
                      fact, with respect to any prescription product dispensed by KZ
                      Pharmacy prior to May 8, 2018, KZ Pharmacy was ineligible to
                      receive reimbursement for No-Fault insurance benefits because it
                      was not a licensed pharmacy in New York State.

               (v)    In the case of Taira Rx and KZ Pharmacy, the NF-3 forms, HCFA-
                      1500 forms, and other supporting records frequently misrepresented
                      to GEICO that Taira Rx and KZ Pharmacy were the direct providers
                      of the services rendered, and were eligible to receive No-Fault
                      Benefits. In fact, the Defendants submitted hundreds of thousands
                      of dollars in billing to GEICO for goods and services provided by
                      independent contractors, rendering the pharmacies ineligible to
                      receive reimbursement for No-Fault insurance benefits.


VI.    The Defendants’ Fraudulent Concealment and GEICO’s Justifiable Reliance

       201.    The Defendants are legally and ethically obligated to act honestly and with

integrity in connection with the provision of pharmaceutical products to Insureds and the billing

they submit or cause to be submitted to GEICO seeking reimbursement for these products.

       202.    To induce GEICO to promptly pay the charges for the Fraudulent Compounded

Drugs, the Defendants have gone to great lengths to systematically conceal their fraud.

       203.    Specifically, the Defendants knowingly have misrepresented and concealed facts

in an effort to prevent discovery that the Defendants (i) violated licensing laws governing

manufacturers and large-scale drug outsourcing facilities of compounded drugs; (ii) have been

involved in collusive, kickback arrangements to generate voluminous prescriptions pursuant to a

fraudulent predetermined treatment and billing protocol, without regard to genuine patient care;




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and (iii) prescribed and dispensed Fraudulent Pain Products that have no efficacious value and

grossly exceed the cost of effective FDA-approved medications; (v) intentionally assembled

large combinations of drugs into purported compounded pain creams solely to inflate the billing

to GEICO and other New York insurance companies; (vi) unlawfully submitted billing to

GEICO through KZ Pharmacy, despite not possessing a New York State pharmacy license; and

(vii) unlawfully submitted billing to GEICO through Taira Rx and KZ Pharmacy despite billing

for services of independent contractors.

       204.    In accordance with the No-Fault Laws, GEICO either: (i) timely denied the

pending claims for No-Fault Benefits submitted through the Pharmacies; (ii) timely issued

requests for additional verification with respect to the pending claims for No-Fault Benefits

submitted through the Pharmacies, yet failed to obtain complete compliance with the requests for

additional verification; or else (iii) the time in which to deny the pending claims for No-Fault

Benefits submitted through the Pharmacies, or to request additional verification of those claims,

has not yet expired.

       205.    The Defendants have hired law firms to pursue collection of the fraudulent

charges from GEICO and other insurers. These law firms routinely file expensive and time-

consuming litigation against GEICO and other insurers if the charges are not promptly paid in

full. In fact, the Pharmacies continues to have legal counsel pursue collection against GEICO

and other insurers without regard for the fact that the Pharmacies have been engaged in fraud.

       206.    GEICO is under statutory and contractual obligations to promptly and fairly

process claims within 30 days. The facially-valid documents that were submitted to GEICO in

support of the fraudulent charges at issue, combined with the material misrepresentations

described above, were designed to and did cause GEICO to rely upon them. As a result, GEICO




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has incurred damages of approximately $1,542,000.00 representing payments made by GEICO

based upon the fraudulent charges submitted by the Defendants, which damages are to be trebled

under 18 U.S.C. § 1962(c)), et. al to $4,626,000.00.

       207.    Based upon the Defendants’ material misrepresentations and other affirmative

acts to conceal their fraud from GEICO, GEICO did not discover and could not reasonably have

discovered that its damages were attributable to fraud until shortly before it filed this Complaint.

                              THE FIRST CLAIM FOR RELIEF
                                     Against All Defendants
                      (Declaratory Judgment – 28 U.S.C. §§ 2201 and 2202)

       208.    GEICO incorporates, as though fully set forth herein, each and every allegation in

the paragraphs set forth above.

       209.    There is an actual case in controversy between GEICO and the Defendants

regarding approximately $2,009,400.49 in fraudulent billing for the Fraudulent Pain Products

that MSB Rx, Taira Rx, and KZ Pharmacy have submitted to GEICO.

       210.    MSB Rx, Taira Rx, and KZ Pharmacy have no right to receive payment for any

pending bills submitted to GEICO because:

               (i)      the Defendants made false and fraudulent misrepresentations to
                        GEICO in that the Fraudulent Pain Products were not medically
                        necessary and were provided – to the extent they were provided at
                        all – pursuant to predetermined fraudulent treatment protocols
                        designed solely to financially enrich themselves, based on
                        prescriptions solicited by MSB Rx, Taira Rx, and KZ Pharmacy
                        without regard for the topical efficacy of the Fraudulent Pain
                        Products or the availability of a wide range of commercially
                        available, FDA-approved medications or proven over-the-counter
                        (“OTC”) medications shown to have therapeutic effects available
                        at a fraction of the cost;

               (ii)     the Defendants engaged in illegal, collusive agreements in which
                        the Pharmacy Defendants solicited and received formulaic and
                        medically unnecessary prescriptions from the Prescribing




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                       Defendants for the Fraudulent Pain Products, including the
                       Fraudulent Compounded Drugs, produced and dispensed by MSB
                       Rx, Taira Rx, and KZ Pharmacy in violation of law;

               (iii)   the Pharmacy Defendants engaged in illegal bulk compounding by
                       specializing in producing and dispensing large quantities of the
                       Fraudulent Compounded Drugs in set formulations, in violation of
                       Federal and New York State regulatory and licensing requirements
                       imposed on drug manufacturers and outsourcing facilities,
                       rendering it ineligible to receive reimbursement for No-Fault
                       insurance benefits;

               (iv)    in the case of KZ Pharmacy, the Defendants submitted hundreds of
                       thousands of dollars in billing to GEICO prior to the pharmacy
                       obtaining a New York State pharmacy license, rendering KZ
                       Pharmacy ineligible to receive reimbursement for No-Fault
                       insurance benefits;

               (v)     in the case of Taira Rx and KZ Pharmacy, the Defendants
                       submitted hundreds of thousands of dollars in billing to GEICO for
                       goods and services provided by independent contractors, rendering
                       the pharmacies ineligible to receive reimbursement for No-Fault
                       insurance benefits.

       211.    Accordingly, GEICO requests a judgment pursuant to the Declaratory Judgment

Act, 28 U.S.C. §§ 2201 and 2202, declaring that MSB Rx, Taira Rx, and KZ Pharmacy have no

right to receive payment for any pending bills submitted to GEICO.

                            THE SECOND CLAIM FOR RELIEF
                                       Against Bassanell
                           (Violation of RICO, 18 U.S.C. § 1962(c))

       212.    GEICO incorporates, as though fully set forth herein, each and every allegation in

the paragraphs set forth above.

       213.    MSB Rx is an ongoing “enterprise”, as that term is defined in 18 U.S.C. §

1961(4), that engages in activities which affect interstate commerce.

       214.    Bassanell knowingly has conducted and/or participated, directly or indirectly, in

the conduct of MSB Rx’s affairs through a pattern of racketeering activity consisting of repeated




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violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United

States mails to submit or cause to be submitted hundreds of fraudulent charges on a continuous

basis for over two years, seeking payments that MSB Rx was not eligible to receive under the

No-Fault Laws because: (i) the billed-for services were not medically necessary and were billed

pursuant to predetermined fraudulent protocols solely to financially enrich the Defendants, based

on “rubber-stamped” prescriptions solicited by MSB Rx without regard for the topical efficacy

of the prescribed drugs or the availability of a wide range of commercially available, FDA-

approved medications and OTC medications proven to have therapeutic effects available at a

fraction of the cost; (ii) the Defendants participated in illegal, collusive agreements in which

MSB Rx solicited and received formulaic and medically unnecessary prescriptions from the

Prescribing Defendants for the Fraudulent Pain Products, including the Fraudulent Compounded

Drugs produced by MSB Rx, in violation of law; and (iii) MSB Rx engaged in illegal bulk

compounding by specializing in producing and dispensing large quantities of the Fraudulent

Compounded Drugs in set formulations, in violation of Federal and New York State regulatory

and licensing requirements imposed on drug manufacturers and outsourcing facilities, rendering

it ineligible to receive reimbursement for No-Fault insurance benefits.

       215.    MSB Rx’s business is racketeering activity, inasmuch as the enterprise exists for

the purpose of submitting fraudulent charges to insurers. The predicate acts of mail fraud are the

regular way in which Bassanell operated MSB Rx, inasmuch as MSB Rx never was eligible to

bill for or collect No-Fault Benefits, and acts of mail fraud therefore were essential in order for

MSB Rx to function. Furthermore, the intricate planning required to carry out and conceal the

predicate acts of mail fraud implies a threat of continued criminal activity, as does the fact that




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the Defendants continue to attempt collection on the fraudulent billing submitted through MSB

Rx to the present day.

          216.   MSB Rx is engaged in inherently unlawful acts inasmuch as its very existence is

an unlawful act, considering that it was created to exploit the New York “No-Fault insurance

system, engage in illegal, collusive arrangements involving medically unnecessary pain products,

including compounded drugs, and bill pursuant to predetermined fraudulent protocols solely to

financially enrich the Defendants. These inherently unlawful acts are taken by MSB Rx in

pursuit of inherently unlawful goals – namely, the theft of money from GEICO and other

insurers through fraudulent No-Fault billing.

          217.   GEICO has been injured in its business and property by reason of the above-

described conduct in that it has paid approximately $472,186.13 pursuant to the fraudulent bills

submitted by the Defendants MSB Rx.

          218.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

proper.

                               THE THIRD CLAIM FOR RELIEF
                         Against Bassanell and the Prescribing Defendants
                             (Violation of RICO, 18 U.S.C. § 1962(d))

          219.   GEICO incorporates, as though fully set forth herein, each and every allegation in

the paragraphs set forth above.

          220.   MSB Rx is an ongoing “enterprise”, as that term is defined in 18 U.S.C. §

1961(4), that engages in activities which affect interstate commerce.

          221.   Bassanell and the Prescribing Defendants are employed by and/or associated with

the MSB Rx enterprise.




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       222.    Bassanell and the Prescribing Defendants knowingly have agreed, combined and

conspired to conduct and/or participate, directly or indirectly, in the conduct of the MSB Rx

enterprise’s affairs, through a pattern of racketeering activity consisting of repeated violations of

the federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United States mails to

submit or cause to be submitted hundreds of fraudulent charges on a continuous basis for over

two years seeking payments that MSB Rx was not eligible to receive under the No-Fault Laws

because: (i) the billed-for services were not medically necessary and were billed pursuant to

predetermined fraudulent protocols solely to financially enrich the Defendants, based on “rubber-

stamped” prescriptions solicited by MSB Rx without regard for the topical efficacy of the

prescribed drugs or the availability of a wide range of commercially available, FDA-approved

medications and OTC medications proven to have therapeutic effects available at a fraction of

the cost; (ii) the Defendants participated in illegal, collusive agreements in which MSB Rx

solicited and received formulaic and medically unnecessary prescriptions from the Prescribing

Defendants for the Fraudulent Pain Products, including the Fraudulent Compounded Drugs

produced by MSB Rx, in violation of law; and (iii) MSB Rx engaged in illegal bulk

compounding by specializing in producing and dispensing large quantities of the Fraudulent

Compounded Drugs in set formulations, in violation of Federal and New York State regulatory

and licensing requirements imposed on drug manufacturers and outsourcing facilities, rendering

it ineligible to receive reimbursement for No-Fault insurance benefits.

       223.    Bassanell and the Prescribing Defendants knew of, agreed to and acted in

furtherance of the common and overall objective (i.e., to defraud GEICO and other insurers of

money) by submitting or facilitating the submission of the fraudulent charges to GEICO.




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          224.   GEICO has been injured in its business and property by reason of the above-

described conduct in that it has paid approximately $472,186.13 pursuant to the fraudulent bills

submitted by the Defendant MSB Rx.

          225.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

proper.

                             THE FOURTH CLAIM FOR RELIEF
                               Against Bassanell and MSB Rx
                                   (Common Law Fraud)

          226.   GEICO incorporates, as though fully set forth herein, each and every allegation in

the paragraphs set forth above.

          227.   Bassanell and MSB Rx intentionally and knowingly made false and fraudulent

statements of material fact to GEICO and concealed material facts from GEICO in the course of

their submission of hundreds of fraudulent charges seeking payment for the Fraudulent Pain

Products.

          228.   The false and fraudulent statements of material fact and acts of fraudulent

concealment include: (i) in every claim, the representation that the billed-for services were

medically necessary and properly billed in accordance with the Pharmacy Fee Schedule, when in

fact the billed-for services were not medically necessary and were billed pursuant to

predetermined fraudulent protocols solely to financially enrich the Defendants, based on “rubber-

stamped” prescriptions solicited by MSB Rx without regard for the topical efficacy of the

prescribed drugs or the availability of a wide range of commercially available, FDA-approved

medications or OTC medications proven to have therapeutic effects available at a fraction of the

cost; (ii) in every claim, the representation that MSB Rx was properly licensed and, therefore,




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eligible to receive No-Fault Benefits pursuant to Insurance Law § 5102(a)(1) and 11 N.Y.C.R.R.

§ 65-3.16(a)(12), when in fact the Defendants participated in illegal, collusive agreements in

which MSB Rx solicited and received formulaic and medically unnecessary prescriptions from

licensed physicians and/or their associates for the Fraudulent Pain Products, including the

Fraudulent Compounded Drugs produced by MSB Rx, in violation of law; and (iii) in every

claim, the representation that MSB Rx was properly licensed, and therefore, eligible to receive

No-Fault Benefits pursuant to Insurance Law § 5102(a)(1) and 11 N.Y.C.R.R. § 65-3.16(a)(12),

when in fact MSB Rx engaged in illegal bulk compounding by specializing in producing and

dispensing large quantities of the Fraudulent Compounded Drugs in set formulations, in violation

of Federal and New York State regulatory and licensing requirements imposed on drug

manufacturers and outsourcing facilities, rendering it ineligible to receive reimbursement for No-

Fault insurance benefits.

          229.   Bassanell and MSB Rx intentionally made the above-described false and

fraudulent statements and concealed material facts in a calculated effort to induce GEICO to pay

charges submitted through MSB Rx that were not compensable under the No-Fault Laws.

          230.   GEICO has been injured in its business and property by reason of the above-

described conduct in that it has paid approximately $472,186.13 pursuant to the fraudulent bills

submitted, or caused to be submitted, by the Defendants through MSB Rx.

          231.   The Defendants’ extensive fraudulent conduct demonstrates a high degree of

moral turpitude and wanton dishonesty that entitles GEICO to recover punitive damages.

          232.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

punitive damages, together with interest and costs, and any other relief the Court deems just and

proper.




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                              THE FIFTH CLAIM FOR RELIEF
                              Against the Prescribing Defendants
                                (Aiding and Abetting Fraud)

       233.    GEICO incorporates, as though fully set forth herein, each and every allegation

set forth above.

       234.    The Prescribing Defendants knowingly aided and abetted the fraudulent scheme

that was perpetrated on GEICO by Bassanell and MSB Rx.

       235.    The acts of the Prescribing Defendants in furtherance of the fraudulent scheme

include knowingly purporting to prescribe the Fraudulent Pain Products, including the

Fraudulent Compounded Drugs, and permitting their names to be used in the billing, prescription

records and treatment reports submitted in support of the Fraudulent Compounded Drugs despite

their knowledge that MSB Rx was ineligible to bill for or to collect No-Fault Benefits in

connection with the Fraudulent Services because: (i) the Defendants produced, prescribed, and/or

dispensed the Fraudulent Pain Products pursuant to predetermined fraudulent treatment protocols

solely to financially enrich themselves, based on prescriptions solicited by MSB Rx without

regard for the topical efficacy of the drugs or the availability of a wide range of commercially

available, FDA-approved medications and OTC medications proven to have therapeutic effects

available at a fraction of the cost; (ii) the Defendants participated in illegal, collusive agreements

in which MSB Rx solicited and received formulaic and medically unnecessary prescriptions from

licensed physicians and/or their associates for the Fraudulent Pain Products, including the

Fraudulent Compounded Drugs produced by MSB Rx, in violation of law; and (iii) MSB Rx

engaged in illegal bulk compounding by specializing in creating and dispensing large quantities

of the Fraudulent Compounded Drugs in set formulations, in violation of Federal and New York




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State regulatory and licensing requirements imposed on drug manufacturers and outsourcing

facilities, rendering it ineligible to receive reimbursement for No-Fault insurance benefits.

          236.    The conduct of the Prescribing Defendants in furtherance of the fraudulent

scheme was significant and material.         The conduct of the Prescribing Defendants was a

necessary part of and was critical to the success of the fraudulent scheme because without their

actions, there would be no opportunity for MSB Rx to obtain payment from GEICO and from

other insurers.

          237.    The Prescribing Defendants aided and abetted the fraudulent scheme in a

calculated effort to induce GEICO into paying charges to MSB Rx for medically unnecessary

and illusory Fraudulent Pain Products that were not compensable under the No-Fault Laws,

because they sought to continue profiting through the fraudulent scheme.

          238.    The conduct of the Prescribing Defendants caused GEICO to pay approximately

$472,186.13 pursuant to the fraudulent bills that the Defendants submitted or caused to be

submitted through MSB Rx.

          239.    The Defendants’ extensive fraudulent conduct demonstrates a high degree of

moral turpitude and wanton dishonesty that entitles GEICO to recover punitive damages.

          240.    Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

punitive damages, together with interest and costs, and any other relief the Court deems just and

proper.

                                THE SIXTH CLAIM FOR RELIEF
                                  Against Bassenell and MSB Rx
                                      (Unjust Enrichment)

          241.    GEICO incorporates, as though fully set forth herein, each and every allegation in

the paragraphs set forth above.




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       242.    As set forth above, Bassanell and MSB Rx have engaged in improper, unlawful,

and/or unjust acts, all to the harm and detriment of GEICO.

       243.    When GEICO paid the bills and charges submitted by or on behalf of MSB Rx for

No-Fault Benefits, it reasonably believed that it was legally obligated to make such payments

based on the Defendants’ improper, unlawful, and/or unjust acts.

       244.    Bassanell and MSB Rx have been enriched at GEICO’s expense by GEICO’s

payments, which constituted a benefit that Defendants voluntarily accepted and profited from, as

a result of, among other things, the payments received and the receipt of kickback payments,

notwithstanding their improper, unlawful, and unjust fraudulent billing scheme.

       245.    The Defendants’ retention of GEICO’s payments violates fundamental principles

of justice, equity and good conscience.

       246.    By reason of the above, the Defendants have been unjustly enriched in an amount

to be determined at trial, but in the approximate amount of $472,186.13.

                           THE SEVENTH CLAIM FOR RELIEF
                               Against Bassanell and Borukhov
                           (Violation of RICO, 18 U.S.C. § 1962(c))

       247.    GEICO incorporates, as though fully set forth herein, each and every allegation in

the paragraphs set forth above.

       248.    Taira Rx is an ongoing “enterprise”, as that term is defined in 18 U.S.C. §

1961(4), that engages in activities which affect interstate commerce.

       249.    Bassanell and Borukhov knowingly have conducted and/or participated, directly

or indirectly, in the conduct of Taira Rx’s affairs through a pattern of racketeering activity

consisting of repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon

the use of the United States mails to submit or cause to be submitted hundreds of fraudulent




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charges on a continuous basis for over two years, seeking payments that Taira Rx was not

eligible to receive under the No-Fault Laws because: (i) the billed-for services were not

medically necessary and were billed pursuant to predetermined fraudulent protocols solely to

financially enrich the Defendants, based on “rubber-stamped” prescriptions solicited by Taira Rx

without regard for the topical efficacy of the prescribed drugs or the availability of a wide range

of commercially available, FDA-approved medications and OTC medications proven to have

therapeutic effects available at a fraction of the cost; (ii) the Defendants participated in illegal,

collusive agreements in which Taira Rx solicited and received formulaic and medically

unnecessary prescriptions from the Prescribing Defendants for the Fraudulent Pain Products,

including the Fraudulent Compounded Drugs produced by Taira Rx, in violation of law; (iii)

Taira Rx engaged in illegal bulk compounding by specializing in producing and dispensing large

quantities of the Fraudulent Compounded Drugs in set formulations, in violation of Federal and

New York State regulatory and licensing requirements imposed on drug manufacturers and

outsourcing facilities, rendering it ineligible to receive reimbursement for No-Fault insurance

benefits; and (iv) Taira Rx submitted billing to GEICO for goods and services provided by

independent contractors in violation of New York law.

       250.    Taira Rx’s business is racketeering activity, inasmuch as the enterprise exists for

the purpose of submitting fraudulent charges to insurers. The predicate acts of mail fraud are the

regular way in which Bassanell and Borukhov operated Taira Rx, inasmuch as Taira Rx never

was eligible to bill for or collect No-Fault Benefits, and acts of mail fraud therefore were

essential in order for Taira Rx to function. Furthermore, the intricate planning required to carry

out and conceal the predicate acts of mail fraud implies a threat of continued criminal activity, as




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does the fact that the Defendants continue to attempt collection on the fraudulent billing

submitted through Taira Rx to the present day.

          251.   Taira Rx is engaged in inherently unlawful acts inasmuch as its very existence is

an unlawful act, considering that it was created to exploit the New York No-Fault insurance

system, engage in illegal, collusive arrangements involving medically unnecessary pain products,

including compounded drugs, and billed pursuant to predetermined fraudulent protocols solely to

financially enrich the Defendants. These inherently unlawful acts are taken by Taira Rx in

pursuit of inherently unlawful goals – namely, the theft of money from GEICO and other

insurers through fraudulent No-Fault billing.

          252.   GEICO has been injured in its business and property by reason of the above-

described conduct in that it has paid approximately $731,200.21 pursuant to the fraudulent bills

submitted by the Defendants Taira Rx.

          253.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

proper.

                            THE EIGHTH CLAIM FOR RELIEF
                 Against Bassanell, Borukhov, and the Prescribing Defendants
                           (Violation of RICO, 18 U.S.C. § 1962(d))

          254.   GEICO incorporates, as though fully set forth herein, each and every allegation in

the paragraphs set forth above.

          255.   Taira Rx is an ongoing “enterprise”, as that term is defined in 18 U.S.C. §

1961(4), that engages in activities which affect interstate commerce.

          256.   Bassanell, Borukhov, and the Prescribing Defendants are employed by and/or

associated with the Taira Rx enterprise.




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       257.    Bassanell, Borukhov, and the Prescribing Defendants knowingly have agreed,

combined and conspired to conduct and/or participate, directly or indirectly, in the conduct of the

Taira Rx enterprise’s affairs, through a pattern of racketeering activity consisting of repeated

violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United

States mails to submit or cause to be submitted hundreds of fraudulent charges on a continuous

basis for over two years seeking payments that Taira Rx was not eligible to receive under the

No-Fault Laws because: (i) the billed-for services were not medically necessary and were billed

pursuant to predetermined fraudulent protocols solely to financially enrich the Defendants, based

on “rubber-stamped” prescriptions solicited by Taira Rx without regard for the topical efficacy

of the prescribed drugs or the availability of a wide range of commercially available, FDA-

approved medications and OTC medications proven to have therapeutic effects available at a

fraction of the cost; (ii) the Defendants participated in illegal, collusive agreements in which

Taira Rx solicited and received formulaic and medically unnecessary prescriptions from the

Prescribing Defendants for the Fraudulent Pain Products, including the Fraudulent Compounded

Drugs produced by Taira Rx, in violation of law; (iii) Taira Rx engaged in illegal bulk

compounding by specializing in producing and dispensing large quantities of the Fraudulent

Compounded Drugs in set formulations, in violation of Federal and New York State regulatory

and licensing requirements imposed on drug manufacturers and outsourcing facilities, rendering

it ineligible to receive reimbursement for No-Fault insurance benefits; and (iv) Taira Rx

submitted billing to GEICO for goods and services provided by independent contractors in

violation of New York law.

       258.    Bassanell, Borukhov, and the Prescribing Defendants knew of, agreed to and

acted in furtherance of the common and overall objective (i.e., to defraud GEICO and other




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insurers of money) by submitting or facilitating the submission of the fraudulent charges to

GEICO.

          259.   GEICO has been injured in its business and property by reason of the above-

described conduct in that it has paid approximately $731,200.21 pursuant to the fraudulent bills

submitted by the Defendant Taira Rx.

          260.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

proper.

                             THE NINTH CLAIM FOR RELIEF
                           Against Bassanell, Borukhov, and Taira Rx
                                    (Common Law Fraud)

          261.   GEICO incorporates, as though fully set forth herein, each and every allegation in

the paragraphs set forth above.

          262.   Bassanell, Borukhov, and Taira Rx intentionally and knowingly made false and

fraudulent statements of material fact to GEICO and concealed material facts from GEICO in the

course of their submission of hundreds of fraudulent charges seeking payment for the Fraudulent

Pain Products.

          263.   The false and fraudulent statements of material fact and acts of fraudulent

concealment include: (i) in every claim, the representation that the billed-for services were

medically necessary and properly billed in accordance with the Pharmacy Fee Schedule, when in

fact the billed-for services were not medically necessary and were billed pursuant to

predetermined fraudulent protocols solely to financially enrich the Defendants, based on “rubber-

stamped” prescriptions solicited by Taira Rx without regard for the topical efficacy of the

prescribed drugs or the availability of a wide range of commercially available, FDA-approved




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medications or OTC medications proven to have therapeutic effects available at a fraction of the

cost; (ii) in every claim, the representation that Taira Rx was properly licensed and, therefore,

eligible to receive No-Fault Benefits pursuant to Insurance Law § 5102(a)(1) and 11 N.Y.C.R.R.

§ 65-3.16(a)(12), when in fact the Defendants participated in illegal, collusive agreements in

which Taira Rx solicited and received formulaic and medically unnecessary prescriptions from

licensed physicians and/or their associates for the Fraudulent Pain Products, including the

Fraudulent Compounded Drugs produced by Taira Rx, in violation of law; (iii) in every claim,

the representation that Taira Rx was properly licensed, and therefore, eligible to receive No-Fault

Benefits pursuant to Insurance Law § 5102(a)(1) and 11 N.Y.C.R.R. § 65-3.16(a)(12), when in

fact Taira Rx engaged in illegal bulk compounding by specializing in producing and dispensing

large quantities of the Fraudulent Compounded Drugs in set formulations, in violation of Federal

and New York State regulatory and licensing requirements imposed on drug manufacturers and

outsourcing facilities, rendering it ineligible to receive reimbursement for No-Fault insurance

benefits; and (iv) in many claims, the representation that Taira Rx was eligible to receive No-

Fault Benefits when in fact Taira Rx submitted billing to GEICO for goods and services

provided by independent contractors in violation of New York law.

       264.    Bassanell, Borukhov, and Taira Rx intentionally made the above-described false

and fraudulent statements and concealed material facts in a calculated effort to induce GEICO to

pay charges submitted through Taira Rx that were not compensable under the No-Fault Laws.

       265.    GEICO has been injured in its business and property by reason of the above-

described conduct in that it has paid approximately $731,200.21 pursuant to the fraudulent bills

submitted, or caused to be submitted, by the Defendants through Taira Rx.




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          266.   The Defendants’ extensive fraudulent conduct demonstrates a high degree of

moral turpitude and wanton dishonesty that entitles GEICO to recover punitive damages.

          267.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

punitive damages, together with interest and costs, and any other relief the Court deems just and

proper.

                              THE TENTH CLAIM FOR RELIEF
                               Against the Prescribing Defendants
                                 (Aiding and Abetting Fraud)

          268.   GEICO incorporates, as though fully set forth herein, each and every allegation

set forth above.

          269.   The Prescribing Defendants knowingly aided and abetted the fraudulent scheme

that was perpetrated on GEICO by Bassanell, Borukhov, and Taira Rx.

          270.   The acts of the Prescribing Defendants in furtherance of the fraudulent scheme

include knowingly purporting to prescribe the Fraudulent Pain Products, including the

Fraudulent Compounded Drugs, and permitting their names to be used in the billing, prescription

records and treatment reports submitted in support of the Fraudulent Compounded Drugs despite

their knowledge that Taira Rx was ineligible to bill for or to collect No-Fault Benefits in

connection with the Fraudulent Services because: (i) the Defendants produced, prescribed, and/or

dispensed the Fraudulent Pain Products pursuant to predetermined fraudulent treatment protocols

solely to financially enrich themselves, based on prescriptions solicited by Taira Rx without

regard for the topical efficacy of the prescribed drugs or the availability of a wide range of

commercially available, FDA-approved medications and OTC medications proven to have

therapeutic effects available at a fraction of the cost; (ii) the Defendants participated in illegal,

collusive agreements in which Taira Rx solicited and received formulaic and medically




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unnecessary prescriptions from licensed physicians and/or their associates for the Fraudulent

Pain Products, including the Fraudulent Compounded Drugs produced by Taira Rx, in violation

of law; (iii) Taira Rx engaged in illegal bulk compounding by specializing in creating and

dispensing large quantities of the Fraudulent Compounded Drugs in set formulations, in violation

of Federal and New York State regulatory and licensing requirements imposed on drug

manufacturers and outsourcing facilities, rendering it ineligible to receive reimbursement for No-

Fault insurance benefits; and (iv) Taira Rx utilized independent contractors in violation of law.

       271.       The conduct of the Prescribing Defendants in furtherance of the fraudulent

scheme was significant and material.       The conduct of the Prescribing Defendants was a

necessary part of and was critical to the success of the fraudulent scheme because without their

actions, there would be no opportunity for Taira Rx to obtain payment from GEICO and from

other insurers.

       272.       The Prescribing Defendants aided and abetted the fraudulent scheme in a

calculated effort to induce GEICO into paying charges to Taira Rx for medically unnecessary

and illusory Fraudulent Pain Products that were not compensable under the No-Fault Laws,

because they sought to continue profiting through the fraudulent scheme.

       273.       The conduct of the Prescribing Defendants caused GEICO to pay approximately

$731,200.21 pursuant to the fraudulent bills that the Defendants submitted or caused to be

submitted through Taira Rx.

       274.       The Defendants’ extensive fraudulent conduct demonstrates a high degree of

moral turpitude and wanton dishonesty that entitles GEICO to recover punitive damages.




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          275.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

punitive damages, together with interest and costs, and any other relief the Court deems just and

proper.

                           THE ELEVENTH CLAIM FOR RELIEF
                           Against Bassenell, Borukhov, and Taira Rx
                                     (Unjust Enrichment)

          276.   GEICO incorporates, as though fully set forth herein, each and every allegation in

the paragraphs set forth above.

          277.   As set forth above, Bassanell, Borukhov and Taira Rx have engaged in improper,

unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

          278.   When GEICO paid the bills and charges submitted by or on behalf of Taira Rx for

No-Fault Benefits, it reasonably believed that it was legally obligated to make such payments

based on the Defendants’ improper, unlawful, and/or unjust acts.

          279.   Bassanell, Borukhov, and Taira Rx have been enriched at GEICO’s expense by

GEICO’s payments, which constituted a benefit that Defendants voluntarily accepted and

profited from, as a result of, among other things, the payments received and the receipt of

kickback payments, notwithstanding their improper, unlawful, and unjust fraudulent billing

scheme.

          280.   The Defendants’ retention of GEICO’s payments violates fundamental principles

of justice, equity and good conscience.

          281.   By reason of the above, the Defendants have been unjustly enriched in an amount

to be determined at trial, but in the approximate amount of $731,200.21.




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                            THE TWELFTH CLAIM FOR RELIEF
                          Against Bassanell, Hakimi, and KZ Pharmacy
                                     (Common Law Fraud)

       282.      GEICO incorporates, as though fully set forth herein, each and every allegation in

the paragraphs set forth above.

       283.      Bassanell, Hakimi, and KZ Pharmacy intentionally and knowingly made false and

fraudulent statements of material fact to GEICO and concealed material facts from GEICO in the

course of their submission of hundreds of fraudulent charges seeking payment for the Fraudulent

Pain Products.

       284.      The false and fraudulent statements of material fact and acts of fraudulent

concealment include: (i) in every claim, the representation that the billed-for services were

medically necessary and properly billed in accordance with the Pharmacy Fee Schedule, when in

fact the billed-for services were not medically necessary and were billed pursuant to

predetermined fraudulent protocols solely to financially enrich the Defendants, based on “rubber-

stamped” prescriptions solicited by KZ Pharmacy without regard for the topical efficacy of the

prescribed drugs or the availability of a wide range of commercially available, FDA-approved

medications or OTC medications proven to have therapeutic effects available at a fraction of the

cost; (ii) in every claim, the representation that KZ Pharmacy was properly licensed and,

therefore, eligible to receive No-Fault Benefits pursuant to Insurance Law § 5102(a)(1) and 11

N.Y.C.R.R. § 65-3.16(a)(12), when in fact Defendants participated in illegal, collusive

agreements in which KZ Pharmacy solicited and received formulaic and medically unnecessary

prescriptions from licensed physicians and/or their associates for the Fraudulent Pain Products,

including the Fraudulent Compounded Drugs, in violation of law; (iii) in many claims, the

representation that KZ Pharmacy was properly licensed and, therefore, eligible to receive No-




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Fault Benefits pursuant to Insurance Law § 5102(a)(1) and 11 N.Y.C.R.R. § 65-3.16(a)(12),

when in fact KZ Pharmacy submitted thousands of dollars of billing to GEICO prior to obtaining

a New York State Pharmacy license; and (iv) in many claims, the representation that KZ

Pharmacy was eligible to receive No-Fault Benefits when in fact KZ Pharmacy submitted billing

to GEICO for goods and services provided by independent contractors in violation of New York

law.

          285.   Bassanell, Hakimi, and KZ Pharmacy intentionally made the above-described

false and fraudulent statements and concealed material facts in a calculated effort to induce

GEICO to pay charges submitted through KZ Pharmacy that were not compensable under the

No-Fault Laws.

          286.   GEICO has been injured in its business and property by reason of the above-

described conduct in that it has paid approximately $331,488.73 pursuant to the fraudulent bills

submitted, or caused to be submitted, by the Defendants through KZ Pharmacy.

          287.   The Defendants’ extensive fraudulent conduct demonstrates a high degree of

moral turpitude and wanton dishonesty that entitles GEICO to recover punitive damages.

          288.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

punitive damages, together with interest and costs, and any other relief the Court deems just and

proper.

                          THE THIRTEENTH CLAIM FOR RELIEF
                          Against Bassenell, Hakimi and KZ Pharmacy
                                     (Unjust Enrichment)

          289.   GEICO incorporates, as though fully set forth herein, each and every allegation in

the paragraphs set forth above.




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        290.   As set forth above, Bassanell, Hakimi and KZ Pharmacy have engaged in

improper, unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

        291.   When GEICO paid the bills and charges submitted by or on behalf of KZ

Pharmacy for No-Fault Benefits, it reasonably believed that it was legally obligated to make such

payments based on the Defendants’ improper, unlawful, and/or unjust acts.

        292.   Bassanell, Hakimi, and KZ Pharmacy have been enriched at GEICO’s expense by

GEICO’s payments, which constituted a benefit that Defendants voluntarily accepted and

profited from, as a result of, among other things, the payments received and the receipt of

kickback payments, notwithstanding their improper, unlawful, and unjust fraudulent billing

scheme.

        293.   The Defendants’ retention of GEICO’s payments violates fundamental principles

of justice, equity and good conscience.

        294.   By reason of the above, the Defendants have been unjustly enriched in an amount

to be determined at trial, but in the approximate amount of $331,488.73.

                                          JURY DEMAND

        295.   Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demands a trial by

jury.

        WHEREFORE, Plaintiffs Government Employees Insurance Company, GEICO

Indemnity Company, GEICO General Insurance Company and GEICO Casualty Company

demand that a judgment be entered in their favor and against the Defendants, as follows:

        A.     On the First Claim for Relief against the Defendants, a declaration pursuant to the

Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, that the Pharmacy Defendants have no




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right to receive payment for any pending bills, amounting to approximately $2,145,659.29

submitted to GEICO;

          B.   On the Second Claim For Relief against Bassanell, compensatory damages in

favor of GEICO in an amount to be determined at trial but approximately $472,186.13, together

with treble damages, punitive damages, costs, interest and such other and further relief as this

Court deems just and proper;

          C.   On the Third Claim For Relief against Bassanell and the Prescribing Defendants,

compensatory damages in favor of GEICO in an amount to be determined at trial but

approximately $472,186.13, together with treble damages, punitive damages, costs, interest and

such other and further relief as this Court deems just and proper;

          D.   On the Fourth Claim For Relief against Bassanell and MSB Rx, compensatory

damages in favor of GEICO in an amount to be determined at trial but approximately

$472,186.13, together with punitive damages, costs, interest and such other and further relief as

this Court deems just and proper;

          E.   On the Fifth Claim For Relief against the Prescribing Defendants, compensatory

damages in favor of GEICO in an amount to be determined at trial but approximately

$472,186.13, together with punitive damages, costs, interest and such other and further relief as

this Court deems just and proper; and

          F.   On the Sixth Claim for Relief against Bassanell and MSB Rx, a recovery in favor

of GEICO in an amount to be determined at trial but approximately $472,186.13, together with

punitive damages, costs, interest and such other and further relief as this Court deems just and

proper.




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       G.      On the Seventh Claim For Relief against Bassanell and Borukhov, compensatory

damages in favor of GEICO in an amount to be determined at trial but approximately

$731,200.21, together with treble damages, punitive damages, costs, interest and such other and

further relief as this Court deems just and proper;

       H.      On the Eighth Claim For Relief against Bassanell, Borukhov and the Prescribing

Defendants, compensatory damages in favor of GEICO in an amount to be determined at trial but

approximately $731,200.21, together with treble damages, punitive damages, costs, interest and

such other and further relief as this Court deems just and proper;

       I.      On the Ninth Claim For Relief against Bassanell, Borukhov, Taira Rx, and the

Prescribing Defendants, compensatory damages in favor of GEICO in an amount to be

determined at trial but approximately $731,200.21, together with punitive damages, costs,

interest and such other and further relief as this Court deems just and proper;

       J.      On the Tenth Claim For Relief against the Prescribing Defendants, compensatory

damages in favor of GEICO in an amount to be determined at trial but approximately

$731,200.21, together with punitive damages, costs, interest and such other and further relief as

this Court deems just and proper; and

       K.      On the Eleventh Claim for Relief against Bassanell, Borukhov and Taira Rx, a

recovery in favor of GEICO in an amount to be determined at trial but approximately

$731,200.21, together with punitive damages, costs, interest and such other and further relief as

this Court deems just and proper.

       L.      On the Twelfth Claim For Relief against Bassanell, Hakimi, and KZ Pharmacy,

compensatory damages in favor of GEICO in an amount to be determined at trial but




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